            Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 1 of 85



                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BUSYSTORE LIMITED IN LIQUIDATION,                   Civil Action No.: 2:13-CV-05195
and BERGFELD CO. LIMITED,

                   Plaintiffs,

       v.

CUSHMAN & WAKEFIELD OF
PENNSYLVANIA, INC., BLANK ROME
LLP,

                   Defendants.


CUSHMAN & WAKEFIELD OF
PENNSYLVANIA, INC.,

                   Third-Party Plaintiff,

       v.

CHAIM ZEV LEIFER, HESKEL KISH, and
JFK BLVD. ACQUISITION G.P., LLC,

                   Third-Party Defendants.


     AMENDED PRETRIAL MEMORANDUM OF DEFENDANT/THIRD-PARTY
       PLAINTIFF CUSHMAN & WAKEFIELD OF PENNSYLVANIA, INC.

       Defendant/Third-Party Plaintiff Cushman & Wakefield of Pennsylvania, Inc. (“C&W”)

submits the following pretrial memorandum, outlining both its defenses to Plaintiffs’ claims and

the bases for the claims it has asserted over Third-Party Defendants, Chaim Zev Leifer, Heskel

Kish, and JFK Blvd. Acquisition G.P., LLC.




                                              A-1
           Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 2 of 85



I.     STATEMENT OF THE NATURE OF THE ACTION AND BASIS FOR
       JURISDICTION

       Plaintiffs state a single claim for fraudulent misrepresentation against C&W. Although

Plaintiffs’ Amended Pretrial Memorandum describes alleged efforts to defraud them by Ravinder

Chawla (“Chawla”), Charles Naselsky (“Naselsky”), Eliyahu Weinstein (“Weinstein”), James

Rappoport (“Rappoport”), and others, Plaintiffs do not allege claims for either conspiracy or

aiding and abetting conspiracy against C&W,1 nor do they claim that C&W conspired with any

of those individuals or knew of their efforts to conceal material facts related to the River City

transaction. Many of those very same people concealed from and misrepresented the very same

facts to C&W as Plaintiffs claim were withheld from them. Notably, Plaintiffs’ losses are

entirely caused by the actions of one individual—Weinstein—who stole the funds that Plaintiffs

now seek to recover from C&W. That single and independent act of theft (and only that act of

theft) directly resulted in Plaintiffs not having the funds they sent for the purchase of two

Philadelphia properties2 or the properties themselves. That act of theft was a separate and

independent act unforeseeable to anyone involved, including to Plaintiffs themselves. The theft

was least of all foreseeable to C&W, whose contact with the River City Property was limited to

the preparation of a single appraisal (the “Appraisal”) of the property for the internal use of its

client, Third-Party Defendant JFK BLVD Acquisition GP, LLC (“JFK”).                C&W had no

relationship with nor knowledge of Weinstein, Berish Berger or any of the Plaintiffs in this

action, and none were intended users of the Appraisal.



       1
         Plaintiffs’ original complaint included a claim for aiding and abetting against C&W, but
they voluntarily withdrew that claim in response to C&W’s motion to dismiss.
       2
          The two projects for which plaintiffs sent funds are the River City Property and a
second property located at 2040 Market Street. Plaintiffs do not assert any claim against C&W
for the funds they lost in connection with the 2040 Market deal.
                                                 2
         Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 3 of 85



       But for the single and individual theft of their funds, Plaintiffs would have had exactly

what they bargained for—an interest in the properties, including the River City Property. C&W

is therefore not liable on Plaintiffs’ fraudulent misrepresentation claim. The Court has diversity

jurisdiction over Plaintiffs’ claims under 28 U.S.C. § 1332(a).

       As a third-party plaintiff, C&W asserts a claim for indemnification against JFK pursuant

to the terms of the engagement letter under which JFK retained C&W to prepare an appraisal of

the property that is at issue in this case. That contract prohibited JFK from sharing the Appraisal

with third parties such as Plaintiffs, and provides for indemnification for any damages arising out

of a breach. C&W also asserts claims for contribution against Third Party Defendants Chaim

Zev Leifer (“Leifer”) and Heskel Kish (“Kish”), who participated with Weinstein in the fraud

perpetrated against Plaintiffs. The contribution claim alleges that, if C&W is found liable, then

Leifer and Kish are likewise liable for all or part of Plaintiffs’ damages. The Court possesses

supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over each of C&W’s third-party claims

because they form part of the same case or controversy set forth in the Amended Complaint.

II.    STATEMENT OF THE FACTS OF THE CASE

       Responsibility for the losses alleged in the Amended Complaint rests on the shoulders of

one man: Eli Weinstein. Without Weinstein, former Plaintiff Berish Berger never would have

been introduced to the River City Property. Without relying on Weinstein, Berger never would

have directed Plaintiffs to send money to or for the River City Property.            And without

Weinstein’s theft of Plaintiffs’ money, Berger would have received precisely what Plaintiffs

contracted for all along—shared ownership of the River City Property, with Plaintiffs owning

80% of the Property and Weinstein owning the remaining 20%. The only reason that Plaintiffs

suffered any loss at all was because Weinstein stole their funds and breached an agreement under

                                                3
           Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 4 of 85



which he was to acquire the River City Property on behalf of both himself and the Plaintiffs.

Simply put, Plaintiffs’ case starts and ends with Weinstein.

       Plaintiffs’ own words and actions throughout past 13 years and five lawsuits confirm that

version of events. Plaintiffs have repeatedly acknowledged that they relied on Weinstein to the

exclusion of other, independent sources of information, that they now recognize that Weinstein

was a “thief,” (see MSJ Ex. CW-46, 5-19-2006 Ardenlink Dep., at 29:23-30:1), and that they

sent money into a “big black hole” that he operated, (see MSJ Ex. CW-8, 5-18-2016 Busystore

Dep., at 81:10-14). In the years immediately following Weinstein’s fraud, Plaintiffs pursued

litigation against Weinstein and the individuals with whom either Weinstein or Berger interacted.

Plaintiffs never brought C&W into those proceedings. In fact, Plaintiffs expressly stated in that

litigation that they “[were] not planning to seek any redress whatsoever from C&W in [their]

Philadelphia fraud case[,]” and they asked C&W “to help [them]” prosecute those claims. (See

Ex. CW-220, Email from R. Seltzer to B. Corcoran (Apr. 22, 2008).) C&W did just that, and

voluntarily provided Plaintiffs with access to and the trial testimony of its appraisers, the very

same individuals whom Plaintiffs now claim defrauded them.

       What is more, to the extent that the C&W Appraisal contains any factually inaccurate

statement, it does so only because the same individuals and entities that Plaintiffs claim

conspired to defraud them withheld information from C&W.3 Naselsky, the Cozen O’Connor

lawyer retained by Chawla, never provided C&W with the agreement of sale governing the River

City acquisition, even though C&W repeatedly asked for it. Nor did Naselsky disclose to C&W

the internal transaction between Chawla and his business partner, Richard Zeghibe (“Zeghibe”),

       3
          As Plaintiffs themselves acknowledge, Naselsky “deceiv[ed] C&W” in a number of
ways, including by “ignor[ing] all requests from McNeil for a copy of the R&F Penn Agreement
of Sale” and “provid[ing him with] even more false information” regarding the nature of the
transaction. (See Pltfs’ Opp’n to Cozen MSJ (ECF 156), at 40, 52.)
                                                4
            Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 5 of 85



on which Plaintiffs now place so much emphasis. Moreover, neither Rappoport nor Naselsky

nor any of his colleagues at either Blank Rome or Cozen O’Connor disclosed the existence of the

proposed height limitation, even though all of them plainly knew about it well before C&W

issued its final, signed Appraisal. In short, C&W was every bit as much misled as Plaintiffs.

        Plaintiffs ultimately obtained a $33 million judgment—90% against Weinstein and his

company, Pine Projects LLC, for fraud and conspiracy, and 10% against Ravinder Chawla and

his company, World Acquisition Partners Corp. (“World Acquisition”), for conspiracy only.

Most notably, the jury found Weinstein liable for $1 million in punitive damages. It was not

until Plaintiffs encountered difficulty collecting on that judgment that they levied a fraudulent

misrepresentation claim against C&W (and Cozen O’Connor and Blank Rome, the two law firms

with whom Naselsky was a partner).4 This case is little more than an effort to find a deep pocket

to pay for a fraud that is properly the responsibility of Weinstein. The Court should not require

C&W to pay for the independent acts of Weinstein, the criminal who actually defrauded

Plaintiffs.

        A.      The River City Property presented a once-in-a-lifetime opportunity to
                develop a world-class site in Center City Philadelphia.

        The River City project involved converting an 8-acre tract of land in Center City

Philadelphia into a world-class development on the order of New York’s World Trade Center or

London’s Canary Wharf. The site consists of five contiguous tax parcels along JFK Boulevard

and the Schuylkill River. SEPTA, the regional rail authority, owns a right-of-way over four of

the parcels, which is used to carry SEPTA rail lines from Amtrak’s 30th Street Station into


        4
         Weinstein was later indicted and convicted on federal fraud charges. He is currently
serving a decades-long prison sentence. During the criminal case, it came to light that Weinstein
had squandered the vast majority of money stolen from Plaintiffs and more than a dozen other
victims.
                                              5
           Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 6 of 85



central Philadelphia. The project was unique in that it involved an air rights development over

the SEPTA rail line and the city streets that separate the parcels, thereby converting five distinct

tracts into a single, continuous mixed-use development spanning several blocks between Center

City and the river.

                1.      Richard Zeghibe and Ravinder Chawla lay the groundwork to
                        convert the River City Property from parking lots into a generational
                        development project.

       In early 2006, three of the River City parcels were being used as surface parking lots.

The remaining two parcels were almost entirely covered by the SEPTA right-of-way. Zeghibe, a

Philadelphia businessman who operated a chain of parking facilities, discovered that the owner

of the Property, R&F Penn Center Associates L.P. (“R&F Penn”), was interested in selling it,

and he entered into negotiations to acquire it with the intent to continue using it as a parking

facility. Zeghibe retained attorney Naselsky, then a partner at Cozen O’Connor P.C. (“Cozen”),

to negotiate the transaction on his behalf. Naselsky formed Third-Party Defendant JFK as a

special-purpose entity for the acquisition,5 and, on May 12, 2006, JFK entered into a contract

with R&F Penn to purchase the River City Property for $32.5 million (“the R&F Penn Contract”)

on a future date (“the JFK purchase”).

       Around that time, Naselsky introduced Zeghibe to another of Naselsky’s clients, real

estate developer Chawla, for the purpose of exploring whether the Property might be put to more

lucrative use. Zeghibe and Chawla ultimately reached an agreement under which they would

acquire the Property pursuant to the R&F Penn Contract, create a development design for the

property, conduct the initial due diligence necessary for the development, and sell both the

Property and the development design at a profit. In 2006, the Philadelphia real estate market was


       5
           Zeghibe was the only principal of JFK.
                                                    6
         Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 7 of 85



at the height of its pre-Great Recession performance. Around that time, just blocks away, the

Cira Center was developed directly across the Schuylkill River, and the Comcast Center was

developed off of 17th Street. Zeghibe and Chawla anticipated that the Property—the largest

undeveloped tract of land in Center City Philadelphia—could fetch upwards of $100 million

when coupled with a world-class development design, and in fact they ultimately received

multiple letters of interest for amounts of $100 million and more.

        Zeghibe and Chawla retained architect James Rappoport, a partner at Daroff Design,

Inc., to design the    development plan.      Rappoport prepared a mixed-use residential and

commercial development plan consisting of ten high-rise skyscrapers of between 50-60 stories,

several of which would be built above the SEPTA rail lines. The plan included condominiums,

office space, hotel space, and a retail mall, and it also featured public amenities, such as an open

promenade spanning the entire complex, a movie theater, a winter garden, access to a waterfront

park along the Schuylkill River, and a pedestrian walkway spanning the River and connecting

the complex with 30th Street Station. It was a project designed to change the Center City

landscape. Indeed, the years since 2006 have seen an influx of young professionals and baby

boomers returning to major urban centers in record numbers, and, had the River City Project

been completed, it would have been perfectly poised to take advantage of those trends.

               2.      JFK retains C&W to prepare an Appraisal of the Property in
                       connection with the purchase from R&F Penn.

       JFK retained several professional firms in connection with the development project,

including an environmental consulting firm, a design firm, a civil engineering firm (which also

provided surveying services and performed a traffic study), a firm to conduct a utility study, and

a law firm (i.e., Cozen, by virtue of their relationship with Naselsky). Naselsky, on behalf of his



                                                 7
         Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 8 of 85



client JFK, also retained C&W to prepare the Appraisal. Naselsky was responsible for retaining

C&W on behalf of JFK, which, at the time, was still controlled exclusively by Zeghibe.

       On May 18, 2006, C&W Appraiser Gerald McNamara sent Naselsky a copy of C&W’s

standard retention letter, which provided that the Appraisal would be “prepared for COZEN

O’CONNOR and [was] intended only for its specified use.”           (See Ex. CW-20, Proposed

Engagement Letter). Naselsky, however, knew that the appraisal was actually being requested

by JFK in connection with its purchase of the River City Property under the R&F Penn Contract.

He therefore changed the engagement letter to indicate that the appraisal would be prepared for

C&W’s “Client,” which the engagement letter defines as JFK, and JFK’s “professionals,

investors, and potential lenders,” who were permitted to “consider the appraisal without further

permission from C&W.” (See Ex. CW-25, Naselsky Engagement Letter Mark-up.) Those terms

were incorporated into the final engagement between C&W and JFK.             (See Ex. CW-30,

Executed Engagement Letter.) The intended use of the Appraisal was expressly limited to

“[i]nternal review by the Client, and the engagement letter provided that JFK would “indemnify

and hold C&W … harmless” in the event that JFK shared the Appraisal with anyone other than

JFK’s “professionals, investors, and potential lenders.” (Id.) The fee for C&W’s appraisal

services was $15,000.

       C&W then set to work. McNamara assigned C&W appraiser Dan McNeil to prepare the

first draft of the Appraisal, and McNeil conducted considerable due diligence in connection with

that assignment.   He met with architect Rappoport to gain a better understanding of the

development plan and obtained copies of Rappoport’s plans and zoning analysis. Rappoport

provided McNeil with a lengthy memorandum outlining the zoning applicable to the project,

showing how Rappoport proposed to satisfy all zoning requirements, and addressing all tax

                                               8
         Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 9 of 85



abatement opportunities.    McNeil reviewed the online version of the Philadelphia Code to

confirm the zoning applicable to the property. He also obtained survey drawings prepared by the

civil engineering firm that Zeghibe and Chawla had retained, and he conducted in-depth research

regarding market trends in Center City Philadelphia and the surrounding area to determine

whether the market was likely to support the River City project. However, McNeil had difficulty

obtaining documentation from Naselsky.         Most significantly, despite McNeil’s requests,

Naselsky never provided McNeil a copy of the R&F Penn Contract. Because that agreement was

not publicly recorded, there was no alternative source from which McNeil could obtain it.

       McNeil prepared a draft of the Appraisal, which he sent to Naselsky on June 23, 2006.

McNeil testified—and one of Plaintiffs’ appraisal experts has confirmed—that it is common

practice in the appraisal industry to transmit a draft appraisal to a client because doing so

provides an opportunity for the appraiser to solicit additional documents from the client and for

the client to provide additional information that the appraiser may not yet have. C&W’s draft

appraisal included a preliminary property valuation of $57 million. That preliminary figure,

according to McNeil, was intentionally conservative because he anticipated that the draft

Appraisal would be revised once Naselsky had reviewed it and had the opportunity to provide

C&W with additional information.

       Naselsky sent the draft appraisal to Rappoport, Chawla, and Zeghibe for their review.

Unbeknownst at the time to either McNamara or McNeil, Rappoport expressed concern about the

valuation, noting that the draft appraisal “ha[d] not taken into consideration the unique nature of

the zoning and planning entitlements of this assembled parcel of land.” (Ex. CW-39, Email from

Rappoport to Chawla (June 27, 2006).) The amount of square footage permitted to be built is

determined by formulas in the zoning code. Those formulas tie buildable square footage to the

                                                9
        Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 10 of 85



amount of property area and street frontage that a property has. Generally speaking, more square

footage can be built on properties with greater property area and more linear street frontage. By

treating the five River City parcels as a single assemblage, Rappoport’s design took advantage of

greater area and linear frontage than any of the parcels would have had individually.          In

Rappoport’s opinion, that aspect of the plan increased the property value beyond the $57 million

in the draft C&W appraisal.       Zeghibe questioned whether C&W had selected the most

appropriate comparable sales, and identified for Naselsky several recent sales in Center City with

substantially higher per-square-foot prices than the ones on which C&W had relied. On July 4,

2006, Naselsky requested a meeting with C&W to discuss the valuation approach set forth in the

draft Appraisal.

               3.     McNeil revises the draft appraisal to account for information
                      provided by Naselsky that had not yet been adequately addressed.

       In June of 2016, McNeil met with Naselsky. During their meeting, Naselsky expressed a

number of points that he believed McNeil did not adequately consider when valuing the River

City project. These concerns included:

              Zoning. Naselsky presented Rappoport’s concerns regarding total square footage
               that could be built on the River City parcels when considered in the aggregate,
               and explained that the aggregate buildable square footage was possible only when
               the parcels were considered as an assemblage rather than separately. Thus, the
               value of the whole was greater than the sum of its parts.

              Phased Development. Naselsky emphasized that the River City project could be
               built in phases over a period of decades based on market performance and
               demand. Thus, a developer would not need to incur construction costs (and their
               associated risks) all at once.

              Size of Development. Naselsky emphasized that the River City site was the
               largest contiguous parcel of undeveloped land in Center City Philadelphia, and
               was the only site that could host a project of such magnitude. McNeil
               acknowledged that, although he was aware of that fact before meeting with
               Naselsky, the draft Appraisal “did not put as much emphasis on” this factor as it
               deserved. (See 6-27-16 McNeil Dep., at 58:24.)
                                               10
         Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 11 of 85



              Infrastructure. Naselsky indicated that, unlike many large-scale developments,
               the transportation, utility, and other infrastructure components necessary to
               support the project were already in place and directly adjacent to the property.
               The property sits only a few blocks from the intersection of the two major
               interstate highways running through Philadelphia and 30th Street Station (the
               city’s major train station), and already has connections to water, sewer, and high-
               voltage electric lines. Thus, significant infrastructure expenses would be
               unnecessary compared to other projects of similar size.

              Private Sale. Naselsky explained that the River City Property was being
               transferred in a privately negotiated sale without exposure to the market, and that
               the sale price was therefore not indicative of market value.

At that meeting, McNeil again asked Naselsky to provide a copy of the contract of sale

applicable to the Property. Naselsky told McNeil that the Property was subject to a contract of

sale for $50 million, and represented that he would send a copy to C&W. But Naselsky never

did so. Nor did he disclose the existence of $32.5 million R&F Penn Contract or the pending

height limitation.

       In actuality, there was a $50 million contract of sale in existence for the property. That

contract, dated June 28, 2006, was executed by JFK (which Zeghibe controlled) and World

Acquisition (which Chawla owned and controlled). Plaintiffs seek to characterize this contract

as a sham designed to artificially inflate the sales value of the River City Property. That

characterization, however, is a fiction unsupported by the evidence. Throughout the late spring

and early summer, Chawla engaged in extensive efforts to find a buyer for the River City

Property. By June 28, 2006 (the date of the $50 million contract), he had already received two

offers—one for $100 million and a second for $125 million, though neither of them advanced to

closing. Zeghibe was becoming uncomfortable with his exposure fronting development and

marketing costs for the project. He had initially entered the R&F Penn Contract to maintain the

Property’s use as parking lots, and Chawla’s aggressive sales efforts seemed to Zeghibe an

increasingly unnecessary risk when compared to the stable income (more than $1 million
                                               11
        Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 12 of 85



annually) that the Property generated from surface parking.       Chawla therefore offered to

purchase the Property from Zeghibe for $50 million in the event that no other buyer was found.

In essence, the $50 million agreement between JFK and World Acquisition gave Zeghibe the

security to continue the development and marketing effort.

       C&W delivered a revised version of the draft Appraisal to Naselsky on July 20, 2006.

The revised draft contained multiple changes based on new information that Naselsky presented

to McNeil during their early July meeting. The revised draft valued the Property at $77 million.

As to the $50 million contract, the revised draft Appraisal noted that: “Our estimated As Is

Market Value ($77,000,000) is significantly higher (54%, $27,000,000) than the reported cost of

acquisition. ($50,000,000). This relationship is, however, considered to be reasonable since the

pending conveyance is not occurring consistent with the recognized definition of Market

Value….” (Ex. CW-43, Revised Draft Appraisal, at BERGER-CW-00000253.) In other words,

the reported sale price of $50 million was not as high as it may have been because the sale was

not exposed to the market and the possibility of a higher sale amount. Again, at no point did

Naselsky provide C&W with a copy of the R&F Penn Contract, the $50 million contract between

JFK and World Acquisition, or notice of the pending height limitation.

       C&W made no further revisions after the revised draft was sent to Naselsky as the final

Appraisal on July 20, 2006 with an “as of” date of August 1, 2006. Nonetheless, C&W did not

issue its signed Appraisal until November 2006 because JFK failed to pay C&W in a timely

manner. On November 16, 2006, after JFK remitted payment, C&W sent the final, signed

Appraisal to Naselsky, who in the interim had moved his practice from Cozen to Blank Rome.

       Importantly, neither McNeil nor McNamara knew that Chawla was marketing the

Property, and at no point had McNeil, McNamara, or any other representative of C&W met

                                               12
           Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 13 of 85



Weinstein, the Plaintiffs, or Berger. In fact, C&W never even knew that any of those individuals

or entities existed. From retention in late May until delivery of the final copy of the Appraisal,

C&W dealt only with its client’s lawyer (and, initially, once with Rappaport), and believed that

the purpose of the Appraisal was for the internal use of the Client as is stated in the Appraisal.

       B.       Weinstein recruits Plaintiffs to invest with him in purchasing the property
                from JFK—and then absconds with their money.

                1.     Weinstein agrees to buy the River City Property from JFK.

       Weinstein, the individual responsible for Plaintiffs’ losses, entered the scene well after

C&W prepared what became the final version of the Appraisal. In approximately September

2006, Chawla became acquainted with Weinstein as a potential purchaser for the River City

Property following JFK’s purchase from R&F Penn, and, on September 26, 2006, Weinstein,

Chawla, and Zeghibe signed a deal for Weinstein to purchase the property. That deal, set forth in

a document entitled “Nominee Agreement,” provided that Weinstein would purchase the River

City Property from JFK for between $62.5 million and $70 million, depending on the amount of

square footage that was ultimately approved to be built.6 Weinstein was required to post a $12

million non-refundable deposit, which would be used to fund the acquisition of the Property

from R&F Penn. The balance of the $32.5 million needed to close the R&F Penn deal would be

financed by a commercial lender.

       Following the JFK/R&F Penn closing, title to the River City Property would be placed

with a subsidiary of JFK, a special purpose entity known as JFK BLVD Acquisition Partners LP

(“JFK Partners”). Weinstein then had two years to deliver the balance of the purchase price (i.e.,



       6
         Weinstein and JFK entered two purchase agreements (“the Weinstein purchase”) styled
as “nominee agreements,” one on September 26, 2006 and a second on December 19, 2006,
which superseded the first. In the second agreement, the parties changed the corporate entities
involved in the deal, but the material terms of the sale remained the same.
                                                 13
        Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 14 of 85



$62.5 to $70 million, less the $12 million deposit) to JFK, at which point control of JFK Partners

(and thus title to the River City Property) would pass to Weinstein. JFK has acknowledged that

structuring the deal in this manner was a tax-avoidance strategy. By placing title to the property

with JFK Partners, real estate transfer taxes would be assessed on the sale from R&F Penn but

not on the sale to Weinstein, since ownership of JFK Partners rather than legal title to the

Property would be transferred. The underlying purpose, however, was to transfer title to the

River City Property from R&F Penn to JFK, and then to transfer title again from JFK to

Weinstein. It was, in other words, two successive sale transactions.

       Weinstein then set out in search of a “partner” to join in the purchase of the River City

Property from JFK. Through connections in the ultra-orthodox Jewish community, Weinstein

solicited Berger, who in turn recruited the Plaintiffs to provide capital for his deal. What no one

at the time knew was that Weinstein was at the center of a large scale real estate Ponzi scheme

which preyed on members of that community—in short—a religious affinity fraud.

               2.     Weinstein lures Plaintiffs into giving him millions of dollars without a
                      formal contract and with minimal documentation showing how the
                      money was to be spent.

       Weinstein’s efforts, however, did not unfold as a normal commercial transaction might.

Both Weinstein and Berger are members of highly conservative sects of Orthodox Judaism

(often known as “ultra-Orthodox” sects), and Weinstein preyed on their shared religious identity

to instill trust that he would carry out the acquisition of the River City Property and confidence

in the deal’s success. As Berger has testified, “[i]n the Orthodox Jewish community in which

[he] do[es] business, successful relationships are founded upon trust and confidence.            A

businessman’s word is his bond[,] and reputation is vitally important.” (See Ex. CW-330 Berger

Decl., ¶ 5.) Because ultra-Orthodox Jewish communities are highly insular and regulated by

                                                14
        Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 15 of 85



their own social norms and enforcement mechanisms, business dealings can be transacted with

comparatively little formality when compared with dealings in the secular world. Reputation,

rabbinical endorsements, and standing in the community confer a level of trust and access to

social capital not present in ordinary commercial settings. In particular, charitable giving is a

significant social marker of trustworthiness.    The community encourages large numbers of

working-age men to pursue full-time religious study to the exclusion of full-time employment,

and the community thus depends on charitable giving by its wealthy individuals to support its

members and sustain its religious identity. Weinstein took advantage of these community norms

to encourage Plaintiffs (and dozens of other victims) to send him millions of dollars without

written agreements or documentation showing how he was spending the money.

       Berger first met Weinstein on November 16, 2006 during a meeting at Berger’s home

arranged by Chaim Zev Leifer, a mutual acquaintance of both men. Leifer is a descendant of

several of the founding rabbis of ultra-Orthodoxy, a position that conferred upon him special

standing and respect in ultra-Orthodox communities.        In addition, Berger and Leifer had

previously attended Talmudic studies in London under the instruction of Rabbi Yitzchok

Kleinman, a respected rabbinical figure in current ultra-Orthrodox circles, who was also a

religious leader in Weinstein’s home community of Lakewood, New Jersey. Berger provided

charitable support for Kleinman during the time that he taught in London.

       During the November meeting, Weinstein described the River City project to Berger and

invited him to the United States to see the Property. Berger accepted that invitation, and, on

December 6, 2006, he attended a meeting in Rappoport’s office along with Weinstein, Leifer,

and Heskel Kish, a fellow follower of ultra-Orthodox Judaism and an employee of Leifer. No

one from C&W was present during that meeting. During the meeting, Rappoport and Chawla

                                                15
        Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 16 of 85



gave a detailed presentation of the project, including a fly-through animation showing the

completed high-rise complex. Following the meeting, Berger noticed a model of a separate

property in Rappoport’s office. Weinstein claimed to also be participating in the development of

that property, known as 2040 Market, which involved purchasing a vacant structure on Market

Street in Philadelphia and constructing a new residential tower over the existing building. After

going their separate ways, Kish, acting on Weinstein’s instructions, sent a three-page fax to

Berger’s hotel outlining the details of both the River City Property and 2040 Market Street. The

fax represented that Berger could “purchase” both properties and indicated that the closing for

River City would occur on December 18, 2006. (Ex. CW-144, Fax from Kish to Berger (Dec. 6,

2006).) With regard to River City, Berger has testified repeatedly that he would be purchasing

an 80% ownership stake in the Property, and that Weinstein would hold the remaining 20%.

They were partners in the purchase.

       On December 8, 2006, one of Chawla’s employees emailed the C&W Appraisal to Kish,

who provided it to Weinstein, Leifer, and Berger. C&W did not know about the transfer to Kish,

to Leifer, or to Berger, and certainly never authorized any of those disclosures. Those transfers

violated the express provisions of C&W’s engagement letter with JFK, which prohibited the

sharing of the Appraisal and provided that only JFK’s “professionals, investors, and potential

lenders” could consider the Appraisal without further permission.       (Ex. CW-30, Executed

Engagement Letter.) Neither Weinstein, Leifer, Kish, nor Berger, let alone any of the Plaintiff

entities was a JFK professional, JFK investor or a JFK potential lender. Thus, none of these

individuals were entitled to receive the Appraisal. Indeed, the engagement letter and the Terms

and Conditions document setting forth these limitations are physically attached to the Appraisal.




                                               16
        Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 17 of 85



Nonetheless, Kish gave the Appraisal to Berger, who claims to have both read it “cover to cover”

and relied upon it in encouraging the Plaintiffs to send funds to Weinstein.

       The evidence, however, tells a contrary story. Despite having read the Appraisal in early

December, neither Berger nor any of the Plaintiffs sought C&W’s permission to consider it or

contacted C&W to discuss the Appraisal or its valuation at any time. Berger did, however,

request that Leifer and Kish conduct research during the ensuing weeks into Weinstein’s

background and trustworthiness within the ultra-Orthodox Jewish community.           Berger has

testified that both Leifer and Kish were “up all night” speaking with individuals who could

vouch for Weinstein’s character, (see MSJ Ex. CW-7, 4-14-2010 Berger Dep., at 78:5-11), and

that they reported that Weinstein was very charitable and had an excellent reputation. Berger

also received unsolicited calls from Rabbi Kleinman, who, at Leifer’s and Weinstein’s

prompting, contacted Berger to encourage him to move forward with the River City transaction

with Weinstein. Still, by mid-December, Berger had not acted.

       Then, just before midnight on December 17, 2006—the eve of the closing on the R&F

Penn/JFK purchase—Leifer hand-delivered a hand-written letter to Berger’s home, pleading with

Berger to proceed with Weinstein’s deal. The letter, written in rabbinic Hebrew and laden with

scriptural allusion and religious idiom, again reiterates Leifer’s own reputation and standing in

the community, vouches for Weinstein’s trustworthiness, and suggests divine provenance for the

deal. Hours later—the day of the closing on JFK’s purchase from R&F Penn—former Plaintiff

Kilbride Investments Limited (“Kilbride”), at Berger’s request, sent $12 million to the title

company for that transaction, thus satisfying Weinstein’s obligation to provide a non-refundable

deposit and securing Weinstein’s right to purchase the Property from JFK. Although Kilbride

provided those funds, Berger never sent a copy of the Appraisal to Kilbride. The Court therefore

                                                17
            Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 18 of 85



granted summary judgment to C&W with regard to the Kilbride transfer, holding that Kilbride

could not have relied on an Appraisal that its decision-makers never saw.7 Those funds are not at

issue in this case.

        Two days later, Plaintiff Busystore Limited (“Busystore”) transferred $9.5 million

directly to Weinstein for the purpose of purchasing the 2040 Market property. Busystore does

not seek to recover those funds in this lawsuit, which is limited to the River City Property.

                 3.    After January 2007, Plaintiffs continued to send funds to Weinstein,
                       even though they did not know of the purpose for which he was
                       requesting the money.

        Approximately two weeks after the Kilbride transfer, Weinstein returned to the well. On

January 1, 2007, Weinstein and Berger met, again at Berger’s home, and Weinstein requested

additional funds. Plaintiffs’ Amended Pretrial Memorandum concedes that Berger asked why

additional funds were necessary and that Weinstein represented that he “need[ed] more funds to

complete the closing of both properties [i.e., both River City and 2040 Market Street].” (Pltfs’

Am. Pretrial Memo. (ECF 233), at 20.) Berger himself, however, has testified that the only

reason Weinstein gave for requesting additional funds during the January visit was the need to

pay off a “still existing $23 million mortgage” on the 2040 Market property. (Ex. CW-330

(Berger Decl.) ¶ 26.) By Berger’s own admission, then, Weinstein was not requesting funds in

connection with the River City Property, which is the only property that C&W appraised. As

such there is no evidence to support the claim that the funds Plaintiffs sent were for the River

City Property.




        7
          Kilbride is owned by a family trust formed under Gibraltar law by Berger’s father for
the benefit of Berger and Berger’s extended family. Berger is not the trustee or a decision-maker
for either the trust or for Kilbride. Thus, the Court held that Berger’s receipt of the Appraisal
was not sufficient to establish that Kilbride relied on it.
                                                  18
        Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 19 of 85



       Further, by January 1 Berger knew that the closings on both the River City Property and

2040 Market should have already occurred. By his own admission Berger has decades of

experience in the real estate industry and refers to himself as a sophisticated real estate investor

who is unquestionably familiar with real estate closing procedures. Even so, he never asked

Weinstein for proof of the acquisitions, for documentation showing the supposedly higher-than-

expected closing costs, or to explain how the transactions had closed without the closing costs

being fully funded. He never requested the closing documentation for either deal. Thus, even if

Berger had relied on the Appraisal when he requested that Kilbride provide financing for the

River City Property, it was no longer reasonable for him (on behalf of the remaining Plaintiffs)

to do so in January 2007, when Weinstein represented that he needed additional funds to pay off

a mortgage on 2040 Market and failed to provide any specificity surrounding the costs described

during the January 1 meeting.

       Nonetheless, Berger chose to continue trusting Weinstein. Over the next few weeks, at

Berger’s request, three entities sent a total of $15 million directly to Pine Projects, Weinstein’s

company. The details of transfers are as follows:

                      Date                      Entity                   Amount
                 January 8, 2007           Ardenlink Limited             $6 million
                 January 8, 2007          Towerstates Limited            $4 million
                January 18, 2007         Bergfeld Co. Limited            $5 million

Although former Plaintiffs Ardenlink and Towerstates initiated two of those transfers, the Court

has already concluded that funds sent by those entities were actually the property of Plaintiff

Busystore, and that Busystore is therefore the proper plaintiff for purposes of this suit.

       C&W engaged a forensic accountant, who evaluated the bank accounts maintained by

Pine Projects and confirmed that Weinstein did not spend any of Busystore’s or Bergfeld’s
                                                  19
           Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 20 of 85



money on River City-related costs. Accordingly, both because (1) the funds transferred after

January 1, 2007 resulted from Berger’s sole reliance on Weinstein and (2) there is no evidence

that any portion of Busystore’s or Bergfeld’s funds was directed for or to the River City

Property, C&W cannot be held liable for any of the $15 million that Busystore or Bergfeld

transferred to Weinstein in January 2007.

       C.       Weinstein’s fraud on Berger comes to light, and the Plaintiffs initiate
                litigation.

                1.     Plaintiffs pursue the legitimate cause of their losses: Eli Weinstein.

       In late January 2007, Plaintiffs grew suspicious that Weinstein had received more than

$36 million but had failed to deliver any evidence that either the River City or 2040 Market deals

had closed successfully. Berger thus demanded an in-person meeting with Weinstein to review

the terms of the two transactions and present documentation of successful closings on both. Two

such meetings were held in late January 2007, but Weinstein failed to produce documentation to

satisfy Plaintiffs’ concerns.

       Following those meetings, Weinstein requested another in-person meeting to attempt to

mediate their dispute. That meeting was held between Berger and Weinstein on February 13,

2007. Again, it failed to produce any resolution. On February 19, 2007, Plaintiffs demanded

return of all funds sent to Weinstein. No refund came. On June 20, 2007, JFK placed Weinstein

in default of his obligations under the Nominee Agreement after he failed to make certain

required payments toward the purchase of the Property from JFK.8




       8
         Plaintiffs’ Amended Pretrial Memorandum discusses at length Chawla’s and Zeghibe’s
efforts to refinance the mortgage on the River City Property and the appraisal that C&W
prepared in connection with that refinance. None of those facts have any bearing on the
fraudulent misrepresentation claims against C&W, which is premised solely on the Appraisal
that Berger actually received and on which Plaintiffs claim to have relied.
                                               20
         Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 21 of 85



       On February 9, 2007, Berger filed a lis pendens against the River City Property, and, on

March 13 2007, Berger instituted litigation in his individual capacity in this Court against

Weinstein and Chawla. Other individuals and entities involved in both the River City and 2040

Market transactions were later added to that lawsuit. That lawsuit was resolved against Berger,

who lacked standing to pursue the claims on behalf of any of the entities involved.

       During 2008, Berger (after receiving assignments from the entities) commenced two

additional lawsuits (which were consolidated) against Weinstein, Chawla, Zeghibe, Rappoport,

and additional individuals and entities involved in the transactions. In total, Plaintiffs sued 17

separate individuals and entities whom they claimed were liable for their losses.            That

consolidated case proceeded to trial in July 2010, and the jury found only Weinstein and Pine

Projects liable for fraud, and Chawla and World Acquisition liable for conspiracy. The jury

awarded $33 million in compensatory damages on those claims.

       C&W was not a party to any of the preceding actions. In fact, Plaintiffs affirmatively

requested C&W’s assistance in the consolidated action, and they represented that they “[were]

not planning to seek any redress whatsoever from C&W in [their] Philadelphia fraud case.” (See

CWX-127, E-mail from R. Seltzer to B. Corcoran (Apr. 22, 2008).)                   Based on those

representations, C&W allowed Plaintiffs to interview McNeil and McNamara without anyone

else present, and arranged for McNeil to testify on Plaintiffs’ behalf at trial.

               2.      In an effort to find a deep pocket, Plaintiffs retool their case and shift
                       focus to parties that did not wrong them.

       Despite Plaintiffs’ victory at trial, they claim that they have been unable to collect on

their judgment. Weinstein was indicted and found guilty on federal fraud charges, having

defrauded more than a dozen victims of more than $223 million. He is still in prison. Chawla



                                                  21
           Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 22 of 85



recently declared bankruptcy, though he has since reached a settlement with Plaintiffs totaling

$6.5 million.

       Thus, in 2012, Plaintiffs commenced the present litigation. In the operative pleading, the

Amended Complaint, they assert a claim of fraudulent misrepresentation against C&W9

specifically that (1) the Appraisal does not disclose a pending local ordinance that allegedly

limited the height of potential construction on the Property; (2) the $77 million valuation was

incorrect; and (3) the Appraisal did not comply with the applicable professional standards, the

Uniform Standards of Professional Appraisal Practice. Importantly, Plaintiffs do not, nor can

they, claim that C&W acted intentionally to defraud them at any point. They have never made a

claim of conspiracy against C&W.

       D.       None of Plaintiffs’ theories of fraud against C&W will ultimately succeed.

       At trial, Plaintiffs will be barred from recovery on their fraudulent misrepresentation

claim against C&W for the following reasons:

       Absence of Causation. As the facts of record establish, Plaintiffs’ losses are attributable

entirely to Weinstein’s failure to satisfy his obligations under the Nominee Agreement and his

theft of the funds that Busystore and Bergfeld sent in January 2007. Without that theft the River

City acquisition would have been completed, and Plaintiffs would have received exactly what

they contracted for: title to the River City Property at the agreed-upon price of between $62.5

and $70 million, with Plaintiffs holding an 80% ownership interest and Weinstein holding the

remaining 20%. Indeed, at trial in the underlying case, Weinstein testified that he and Berger




       9
          The Amended Complaint additionally stated claims for conspiracy and aiding and
abetting conspiracy against Cozen and Blank Rome LLP. Cozen and Blank Rome have both
reached settlements with Plaintiffs.
                                            22
           Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 23 of 85



maintained a real estate partnership for multiple deals, and the jury found that such a partnership

existed.

       Lack of Reasonable Reliance on the Appraisal by Plaintiffs. To prove fraud under

Pennsylvania law, a plaintiff must demonstrate both that the defendant intended to induce the

plaintiff to rely on a false representation and that the plaintiff reasonably relied on that

representation. Tran v. Metro. Life Ins. Co., 408 F.3d 130, 136 n.8 (3d Cir. 2005); Gibbs v.

Ernst, 647 A.2d 882, 889 (Pa. 1994). Here, Plaintiffs can show neither. There is no evidence

that C&W intended to induce any Plaintiff to take any action. Indeed, to the contrary, C&W’s

engagement letter prohibited anyone other than JFK’s “professionals, investors, and potential

lenders” to rely on the Appraisal without C&W’s express permission. Plaintiffs do not fall into

any of those categories.

       To circumvent that reality, Plaintiffs claim that they were part of what they call a

“consortium” with Chawla and Zeghibe that was purchasing the River City Property from R&F

Penn. (See Pltfs’ Am. Pretrial Memo. (ECF 233), at 17.) They suggest that, because they were

members of that purported consortium, they were investors in JFK entitled to rely on the

Appraisal rather than buyers from JFK who were not. That argument, however, is belied by

Plaintiffs’ own admission. Most recently, in their Amended Pretrial Memorandum, they state

that “Zeghibe and Chawla contracted to sell the site to Eli Weinstein for a base price of $62.5

million and, potentially, as much as $70 million.” (See Pltfs’ Am. Pretrial Memo. (ECF 233), at

2 (emphasis added).) If Plaintiffs were the buyers from Zeghibe and Chawla, they could not

have been investors who would hold title alongside them. Berger’s testimony regarding the

80/20 arrangement between him and Weinstein further confirms that fact. (See MSJ Ex. CW-8,

5-18-2016 Busystore Dep., at 84:23-85:10; MSJ Ex. CW-13, 7-22-2010 Berger Direct Tr. at

                                                23
         Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 24 of 85



36:1-9.) Together, Plaintiffs and Weinstein would have owned the entire Property outright.

There would have been no remaining ownership interest that another member of the supposed

consortium could have held. Notably, no other party in either this litigation or the prior cases has

ever mentioned a buying consortium of the type Plaintiffs now propose, and it was not

mentioned on a single occasion at the prior trial in the underlying action. Plaintiffs themselves

have not even identified who the other members of the consortium would have or could have

been. The reason for Plaintiffs lack of specificity is simple: no consortium existed. Therefore,

Berger was not entitled to consider the Appraisal, let alone rely on it.

       C&W could not have foreseen that Plaintiffs would receive the Appraisal much less rely

on it. Both the engagement letter and the Appraisal itself prohibited JFK from sharing the

Appraisal without C&W’s permission. In fact, in late December 2006, Chawla disclosed the

valuation in a public news article, which McNamara forwarded to C&W’s legal department out

of a concern that JFK had breached the engagement letter. When Naselsky later contacted

McNamara in connection with a subsequent sale after the Weinstein purchase fell through,

McNamara initially refused to discuss further involvement by C&W due to that breach.

       Nor could Plaintiffs reasonably have believed they were entitled to rely on the Appraisal.

The document states on its face that individuals other than JFK’s “professionals, investors, and

potential lenders” were not entitled to rely on it without C&W’s permission. Plaintiffs therefore

cannot prove either that C&W intended to induce their reliance or that they reasonably relied on

the Appraisal. Without those essential elements, their fraud claim will fail at trial.

       C&W Was Under No Duty to Disclose the Pending Height Limitation. Assuming that

Plaintiffs were entitled to rely on the Appraisal (which they were not), Plaintiffs suggest that

C&W was under a duty to disclose a pending height ordinance that was signed into law in

                                                 24
        Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 25 of 85



January 2007 and limited the height of structures that could be built on two of the River City

Parcels. That is incorrect both as a matter of law and as a matter of fact.

       To apply such a duty, Plaintiffs rely on a Pennsylvania practice called “the pending

ordinance doctrine.” That doctrine allows a municipality to give a pending zoning ordinance the

force of law if the municipality has given public notice of its intent to consider the ordinance and

held a public hearing on the bill. Hill v. Zoning Hearing Bd. of Chestnuthill Twp., 626 A.2d 510,

512-13 (Pa. 1993).      Here, the facts are undisputed, and the Court should determine the

applicability of the pending ordinance doctrine as a matter of law.           Although the height

ordinance was originally introduced on April 20, 2006, it did not originally apply to any of the

River City parcels. On May 25, 2006, the ordinance was amended during a City Council

meeting to include two of those parcels. However, because the amendment occurred on the

floor, no pre-hearing notice of the change (as required by the doctrine) was given. It was not

until November 8, 2006 that the City Council gave public notice of its intent to consider the

amended bill, and the bill was not brought before the Council until November 28, 2016. Thus,

the earliest date that the bill could have been given effect under the pending ordinance doctrine

was more than two weeks after C&W transmitted the final Appraisal to Naselsky and more than

three months after C&W completed substantive work on the project.

       Additionally, the evidence shows that C&W acted reasonably with regard to its zoning

analysis and that other individuals (namely Naselsky) who had actual knowledge of the pending

height limitation withheld its existence from C&W. McNeil consulted the publicly available

version of the Philadelphia Code to determine the zoning applicable to the River City Property,

and he reviewed, confirmed, and relied on the detailed zoning analysis prepared by Rappoport.

Both Rappoport (an architect) and Naselsky (a real estate lawyer), reviewed the original and

                                                 25
         Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 26 of 85



revised drafts of the Appraisal, and neither of them ever called the height ordinance to McNeil’s

attention—even though they knew of its existence in August 2006, several months before C&W

issued the signed version of the Appraisal. There is no legislative tracking service that McNeil

could have used to discover the pending ordinance, nor was there any way he could have learned

of the bill short of visiting City Hall on a daily basis and asking for all legislative developments

since the prior day. The law does not impose such an onerous duty on appraisers, who are only

required to conduct an investigation that is reasonable under the circumstances and are entitled to

rely on the work of other subject-matter experts such as architects and real estate attorneys.

Here, McNeil reasonably carried out his duty to investigate zoning issues, and Plaintiffs cannot

establish a claim a fraud against C&W based on his failure to learn of the pending height

limitation when Rappoport and Naselsky—the very professionals who specialized in zoning

matters—did not call it to C&W’s attention.

        Most significantly, there is not a shred of evidence that a height ordinance would have

scuttled the project if imposed. Therefore Plaintiffs’ claim that this somehow resulted in

Plaintiffs losses is a red herring.

        The Alleged Defects in the Appraisal Lack Merit. Plaintiffs Pretrial Memorandum

identifies seven alleged defects in C&W’s Appraisal, all of which C&W disputes and none of

which give rise to liability for fraudulent misrepresentation. C&W’s position on those claims is

briefly summarized in the chart below:

                    Plaintiffs’ Allegation                      C&W’s Defense




                                                26
 Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 27 of 85




             Plaintiffs’ Allegation                                C&W’s Defense
C&W’s Appraisal falsely reported that the River    The $50 million contract was a legitimate
City Property was under contract of sale for $50   transaction between Chawla and Zeghibe.
million.                                           C&W did not act recklessly because it
                                                   repeatedly requested the contract of sale from
                                                   Naselsky, who failed to provide it. There was
                                                   no alternative source from which C&W could
                                                   reasonably have obtained the contract, and the
                                                   Appraisal discloses that C&W never received a
                                                   copy of the contract.
C&W’s Appraisal is dated June 23, 2006 when        Although the date on the final Appraisal was
it was actually issued five months later.          not the date that the Appraisal was actually
                                                   transmitted to JFK, Plaintiffs do not claim to
                                                   have been misled by the date of the report.
                                                   Moreover, the effective date of the Appraisal’s
                                                   valuation is specified as August 1, 2006. That
                                                   is the operative date for purpose of judging the
                                                   Appraisal’s accuracy.
C&W inflated the value of the property by $20      The change between the draft value from $57
million after being told that JFK, Chawla,         million and the actual reported value of $77
Rappoport, and Naselsky were dissatisfied with     million was the result of legitimate aspects of
the original valuation of $57 million.             the Property that Naselsky called to McNeil’s
                                                   attention as not being adequately considered in
                                                   the draft appraisal. McNeil also prepared the
                                                   draft appraisal using a conservative initial figure
                                                   to allow JFK to provide feedback and additional
                                                   information regard the project. There is no
                                                   evidence that C&W was told that Chawla,
                                                   Rappaport and Naselsky were “dissatisfied”
                                                   with the original valuation.
The C&W appraisal incorrectly reported that the    As discussed above, C&W’s statement
Property was not subject to any height             regarding the lack of a height restriction was
restrictions.                                      true when made.
C&W falsely reported the impact of the rail        The Appraisal discussed the railroad right-of-
encumbrance, which allegedly made the River        way and explained that it added value by
City Project unbuildable.                          interconnecting the parcels into a single,
                                                   continuous assemblage, which allowed for
                                                   certain square footage zoning bonuses that
                                                   would not have been available to any of the
                                                   parcels individaully. C&W has never suggested
                                                   that the River City Project was unbuildable due
                                                   to the right-of-way.




                                               27
        Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 28 of 85




                   Plaintiffs’ Allegation                               C&W’s Defense
       C&W’s market analysis failed to account for the   C&W’s Appraisal analyzed performance of the
       length of time necessary to absorb all            condominium market over time, and conducted
       condominium inventory that would be created       a market analysis that took into account the
       by the project.                                   ability of the project to be built in stages over
                                                         time.
       The C&W Appraisal failed to comply with the       The Appraisal complied with USPAP at all
       Uniform Standards of Professional Appraisal       times.
       Practice (“USPAP”).

       E.      If C&W is held liable, then JFK will be liable for indemnification, and Leifer
               and Kish will be liable for contribution.

       C&W anticipates that a jury will return a complete defense verdict in its favor. However,

if C&W is held liable, then JFK, Leifer, and Kish will each be liable to it. C&W has brought a

claim for indemnification against JFK and claims for contribution against Leifer and Kish.

       The indemnification claim against JFK derives from C&W’s engagement letter with JFK,

which provides that “[i]n the event the Client provides a copy of this appraisal to, or permits

reliance thereon by, any person or entity not authorized by C&W in writing to use or rely

thereon, Client hereby agrees to indemnify and hold C&W … harmless from and against all

damages … incurred in investigating and defending any claim arising from … the use of, or

reliance upon, the appraisal by any such unauthorized person or entity.” (See Ex. CW-30,

Executed Engagement Letter, at 5 ¶ 5.) JFK’s transmission of the Appraisal to Kish (and

ultimately to Plaintiffs) constitutes a breach of the engagement letter and triggers the

indemnification provision of the JFK/C&W agreement.

       The contribution claims against Leifer and Kish arise from their participation in

connection with the fraud perpetrated by Weinstein. If C&W is held liable, then Leifer and Kish

share responsibility for Plaintiffs’ losses because they occupied the best position from which to

discover Weinstein’s fraud and failed to do so. Indeed, Berger expressly requested that they


                                                     28
         Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 29 of 85



conduct due diligence on Weinstein’s background for the Plaintiffs’ benefit, and they failed to

discover Weinstein’s true intentions. If C&W is liable for fraud, then Leifer and Kish are

likewise liable for recklessly extolling Weinstein’s trustworthiness when they were in a position

to discover otherwise. Neither Liefer nor Kish have appeared in this action and are currently in

default. C&W anticipates requesting a default judgment against them in advance of trial.

III.    MONETARY DAMAGES CLAIMED

        In the event that C&W is found liable on Plaintiffs’ fraud claim, it will seek full recovery

of those amounts on its indemnification and contribution claims against JFK, Leifer, and Kish.

        Plaintiffs’ pretrial memorandum demands prejudgment interest and punitive damages on

any jury award. C&W disputes that either of those items of damages are recoverable in this case,

as prejudgment interest is not authorized under applicable law and Plaintiffs’ Amended

Complaint does not contain a demand for punitive damages.

IV.     WITNESS LIST

        C&W anticipates that it may call the following individuals and entities as witnesses at

trial. C&W reserves the right to call any individual listed by any other party, and to call

additional individuals not listed for purposes of rebuttal.

        A.     Liability Witnesses

Anthony Argiropoulos                                   Philadelphia, PA 19103
Epstein Becker & Green
150 College Road West, Suite 301                       Pessie Berger
Princeton, NJ 08540                                    c/o Brown McGarry Nimeroff LLC
                                                       Two Commerce Square, Suite 3420
Berish Berger                                          Philadelphia, PA 19103
c/o Brown McGarry Nimeroff LLC
Two Commerce Square, Suite 3420                        Alan Casnoff
Philadelphia, PA 19103                                 P+A Associates
                                                       Philadelphia Navy Yard, Building M-7
Getzel Berger                                          1321 Intrepid Ave, 2nd Floor
c/o Brown McGarry Nimeroff LLC                         Philadelphia, PA 19112
Two Commerce Square, Suite 3420
                                                 29
        Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 30 of 85



Ravinder Chawla
1425 Huntington Road
Abington, PA 19001                               Peter Korpacz
                                                 c/o DLA Piper LLP (US)
Cushman & Wakefield of Pennsylvania, Inc.        1650 Market Street, Suite 4900
c/o DLA Piper LLP (US)                           Philadelphia, PA 19103
1650 Market Street, Suite 4900
Philadelphia, PA 19103                           Chaim Zev Leifer
                                                 16 Portland Avenue
                                                 London N16 6ET

Sheldon Eisenberger                              Jeffrey Leonard
Robinson Brog Leinwand Green Geneovese           Cozen O’Connor, P.C.
& Gluck P.C.                                     One Liberty Place
875 Third Avenue                                 1650 Market Street, Suite 2800
New York, NY 10022                               Philadelphia, PA 19103

JFK BLVD Acquisition GP, LLC                     James Levy
380 Red Lion Road, Suite 202                     Hassans International Law Firm
Huntingdon Valley, PA 19006                      57/63 Line Wall Road
                                                 Gibraltar, GX11 1AA
Heskel Kish
106 Lealand Road                                 Daniel McNeil
London N15 6JT                                   c/o DLA Piper LLP (US)
                                                 1650 Market Street, Suite 4900
Marc Jonas                                       Philadelphia, PA 19103
Eastburn and Gray PC
470 Norristown Road, Suite 102                   Gerald McNamara
Blue Bell, PA 19422                              c/o DLA Piper LLP (US)
                                                 1650 Market Street, Suite 4900
Peter Kelsen                                     Philadelphia, PA 19103
c/o Blank Rome LLP
One Logan Square                                 Charles Naselsky
130 N. 18th St.                                  617 West 141st Street, Apt. 21
Philadelphia, PA 19103                           New York, NY 10031

William Kerr                                     James Rappoport
High Swartz LLP                                  Daroff Design, Inc.
40 East Airy Street                              2121 Market Street
Norristown, PA 19404                             Philadelphia, PA 19103

Paula Konikoff                                   Chaim Saiman
c/o DLA Piper LLP (US)                           c/o DLA Piper LLP (US)
1650 Market Street, Suite 4900                   1650 Market Street, Suite 4900
Philadelphia, PA 19103                           Philadelphia, PA 19103

                                            30
         Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 31 of 85



Arjan Singh                                             Huntingdon Valley, PA 19006
380 Red Lion Road, Suite 202
Huntingdon Valley, PA 19006                             Eli Weinstein
                                                        FCI Elkton
Craig Steinley                                          8730 Scroggs Road
c/o DLA Piper LLP (US)                                  Lisbon, OH 44432
1650 Market Street, Suite 4900
Philadelphia, PA 19103                                  Richard Zeghibe
                                                        Patriot Parking
Andrew Teitelman                                        2215 Walnut Street
Law Offices of Andrew Teitelman P.C.                    Philadelphia, PA 19103
380 Red Lion Road, Suite 103
       B.      Damages Witnesses

Cushman & Wakefield of Pennsylvania, Inc.               London N15 6JT
c/o DLA Piper LLP (US)
1650 Market Street, Suite 4900
Philadelphia, PA 19103                                  Chaim Zev Leifer
                                                        16 Portland Avenue
Ravinder Chawla                                         London N16 6ET
1425 Huntington Road
Abington, PA 19001                                      Gerald McNamara
                                                        c/o DLA Piper LLP (US)
                                                        1650 Market Street, Suite 4900
David Glusman                                           Philadelphia, PA 19103
c/o DLA Piper LLP (US)
1650 Market Street, Suite 4900                          Andrew Teitelman
Philadelphia, PA 19103                                  Law Offices of Andrew Teitelman P.C.
                                                        380 Red Lion Road, Suite 103
Heskel Kish                                             Huntingdon Valley, PA 19006
106 Lealand Road
V.     EXHIBIT LIST

       C&W’s list of trial exhibits is attached as Appendix A.            C&W reserves the right

supplement its exhibit list, to use any trial exhibit listed by any other party, and to use additional

materials not listed for purposes of rebuttal.

VI.    ESTIMATED LENGTH OF TRIAL

       C&W estimates that it will require 3-5 days to present its defense to Plaintiffs’ claims and

its case-in-chief against JFK, Leifer, and Kish.


                                                   31
           Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 32 of 85



VII.    SPECIAL COMMENTS REGARDING LEGAL ISSUES, STIPULATIONS,
        AMENDMENTS TO PLEADINGS, AND OTHER MATTERS

        Leifer and Kish are presently in default on C&W’s third-party claims against them.

C&W anticipates moving for default judgment against Leifer and Kish following trial.

        In addition, Plaintiffs have previously reached settlements totaling REDACTED , as

follows:

                Rappoport and Daroff Design             REDACTED
                Chawla                                  REDACTED
                Blank Rome                              REDACTED
                Cozen                                   REDACTED

In the event that C&W is found liable, it will request an offset of the portion of those settlement

amounts attributable to the losses that Plaintiffs allegedly suffered with regard to the January

2007 transfers.     Put differently, Plaintiffs cannot recover from both C&W and a settling

defendant for the same $15 million that Plaintiffs transferred to Weinstein in January 2007.

VIII. EVIDENTIARY OBJECTIONS

        C&W’s objections to exhibits designated by all other parties on the basis of authenticity

or grounds other than relevance are set forth in Appendix B, attached hereto.

IX.     ADMISSIBILITY OF LAY OPINION TESTIMONY

        At present, C&W is unaware of any lay opinion testimony to be offered by any party.

C&W reserves the right to supplement this Pretrial Memorandum and to object to such testimony

in the effect that any party seeks to offer it at a later time.

Dated: November 1, 2019                                  Respectfully Submitted By:

                                                              /s/ Jayne A. Risk
                                                              Jayne A. Risk
                                                               jayne.risk@dlapiper.com
                                                              Nathan P. Heller
                                                               nathan.heller@dlapiper.com
                                                    32
Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 33 of 85



                                       Justin E. Kerner
                                       justin.kerner@dlapiper.com
                                       DLA PIPER LLP (US)
                                       One Liberty Place
                                       1650 Market Street, Suite 4900
                                       Philadelphia, PA 19103
                                       Phone: (215) 656-3300
                                       Fax:      (215) 656-3301

                                   Attorneys for Defendant/Third-Party Plaintiff
                                   Cushman & Wakefield of Pennsylvania, Inc.




                              33
        Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 34 of 85



                               CERTIFICATE OF SERVICE
       I certify that on November 1, 2019, I caused a copy of the foregoing pretrial

memorandum to be served via email on the Counsel listed below.

              Morrison Cohen LLP
              Attn: Brett D. Dockwell and Danielle C. Lesser
              909 Third Avenue
              New York, NY 10022
              bdockwell@morrisoncohen.com
              dlesser@morrisoncohen.com

              Brown Stone Nimeroff LLC
              Attn: Mary Kay Brown, Jami Nimeroff, and Raymond McGarry
              Two Commerce Square,
              2001 Market Street
              Philadelphia, PA 19103
              mkbrown@bsnlawyers.com
              jnimeroff@bsnlawyers.com
              rmcgarry@bsnlawyers.com

              Attorneys for Plaintiffs

              Harkins Cunningham LLP
              Attn: John G. Harkins and Dawn M. Sigyarto
              4000 Two Commerce Square
              2001 Market Street
              Philadelphia, PA 19103
              jharkins@harkinscunningham.com
              dsigyarto@harkinscunningham.com

              Attorneys for Defendant Blank Rome LLP

              Klehr Harrison Harvey Branzburg LLP
              Attn: William A. Harvey, Matthew J. Borger, and Paige M. Willan
              1835 Market Street, Suite 1400
              Philadelphia, PA 19103
              wharvey@klehr.com
              mborger@klehr.com
              pwillan@klehr.com

              Attorneys for Defendant Cozen O’Connor, P.C.




                                             34
Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 35 of 85



     Law Offices of Andrew Teitelman, P.C.
     Attn: Andrew Teitelman
     380 Red Lion Rd., Ste. 380
     Huntingdon Valley, PA 19006
     ateitelman@teitelaw.com

     Attorney for Third-Party Defendant JFK BLVD Acquisition GP, LLC




                                       By: /s/ Jayne A. Risk
                                           Jayne A. Risk




                                  35
        Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 36 of 85



                                     APPENDIX A



C&W         Cross-
                                 Document Description                    Bates Number
Ex. No.    Reference
                          2/6/06 Letter of Intent for JFK BLVD           COZEN002655-
CW-1         P-104
                                        Properties                          002657
CW-2         P-107         JFK Purchase Agreement (original)            COZEN000963-995
                                                                         COZEN001074-
CW-3         P-108         JFK Purchase Agreement (revision)
                                                                            001114
                       3/14/06 Email from Naselsky to M. Steele et
CW-4         P-102                                                       COZEN001265
                           al. re: retention of Cozen by Zeghibe
CW-5         P-106       3/15/06 Cozen New Matter Intake Form          COZEN001267-1279
CW-6         P-110     JFK Purchase Agreement (3/29/06 revision)       COZEN001158-1200
CW-7         P-109     JFK Purchase Agreement (3/30/06 revision)        COZEN001115-57
                          3/30/06 email from Kennedy to Danow            COZEN000878-
CW-8         P-111
                           forwarding draft Purchase Agreement              000917
                        Cozen JFK Purchase Agreement (revision           COZEN001202-
CW-9         P-112
                                      3/30/06)                              001247
                        3/30/06 Email chain re: formation of JFK
CW-10        P-115                                                       COZEN001262
                           BLVD Acquisition Partners, LLC
                       4/16/06 (updated 6/14/06) Daroff Design
CW-11        P-35      Memo re River City Development—outline          BERGER3000740-46
                              of as-of-right development
                        JFK Purchase Agreement (Katsky Korins            COZEN000997-
CW-12        P-113
                                     draft 5/9/06)                          001027
                         5/12/06 Agreement of Sale between R&F
                        Penn Center Associates, L.P., as seller, and
CW-13        P-118     JFK Blvd Acquisition GP, LLC, as buyer, for     BERGER3000429-549
                             River City for $32.5 million, with
                                   amendments thereto
                                                                         COZEN001028-
CW-14        P-114           JFK Purchase Agreement (draft)
                                                                            001073


                                           A-1
        Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 37 of 85




C&W         Cross-
                                 Document Description                  Bates Number
Ex. No.    Reference
                          Formation Documents for JFK BLVD
CW-15        D-68                                                    BERGER4069448- 91
                                  Acquisition GP LLC
                         12/8/06 Email from Naselsky to Chawla
CW-16       P-223A     forwarding revised org chart for JFK BLVD      BR018953-018954
                                  Acquisition Partners
                        2/9/07 Financial Statement for Richard and    BERGER3001596-
CW-17        D-80
                                     Awilda Zeghibe                       001598
                        Certificate of the Managers of JFK BLVD       BERGER4032782-
CW-18        D-81
                           Acquisition GP, LLC dated 2/28/07             4033121
                         Closing Binder For Loan Between JFK
CW-19        None                                                      BR1000041-340
                             BLVD and Kennedy Funding
                       2006 Partnership Tax Return for JFK BLVD       BERGER4001343-
CW-20        D-82
                                  Acquisition GP LLC                     4001356
                                                                      BERGER4141711-
CW-21        D-83      2007 Partnership Tax Return for JFK BLVD
                                                                         4141720
                       5/18/06 C&W Draft Engagement Letter and         BERGER-CW-
CW-22        P-61
                                  Enclosure Email                       00000006-09
                         5/18/06 Email from Rappoport to McNeil
                       and McNamara, cc Chawla, Craig Snider and
CW-23        P-62                                                    BERGER4000802-10
                            Ilkyu Kim re 23rd and JFK, listing
                         documents to be sent by courier to C&W
                        5/22/06 Email from McNamara to McNeil
                                                                       BERGER-CW-
CW-24        P-63       regarding Naselsky response C&W Draft
                                                                        00000010-11
                                  Engagement Letter
                           Naselsky Comments on C&W Draft              BERGER-CW-
CW-25        P-120
                                  Engagement Letter                     00000029-31
                       5/25/06 Email from Craig Snider to Naselsky
CW-26        P-119                                                    BERGER4204105
                                  re engagement letter
                        5/26/06 Snider Email Thread Indicating
                                                                       BERGER-CW-
CW-27        P-64      Approval of C&W Draft Engagement Letter
                                                                        00000012-13
                              with Revisions by Naselsky




                                           A-2
        Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 38 of 85




C&W         Cross-
                                 Document Description                   Bates Number
Ex. No.    Reference
                         6/5/06 Email Thread Relaying Naselsky
                                                                        BERGER-CW-
CW-28        P-65       Comments on Draft Engagement Letter to
                                                                         00000025-31
                                       McNamara
                          6/7/06 Naselsky Letter to McNamara
CW-29        P-121                                                     BERGER4000616
                          Enclosing Signed Engagement Letter
                         6/7/06 Email from McNamara to McNeil,
                         forwarding an executed engagement letter       BERGER-CW-
CW-30        P-66
                       from Naselsky (w/ conditions of engagement        00000058-62
                                         attached)
                                                                      BERGER4000478-
CW-31        P-67                 McNeil Working File
                                                                         4000977
                         C&W Background Information re JFK
CW-32        D-65                                                      BERGER4000609
                                   Properties
                       6/23/06 Email from McNamara to Naselsky          BERGER-CW-
CW-33        P-91
                           Re: Completion of Draft Appraisal              00000068
                        6/23/06 Email from McNamara to McNeil
                                                                        BERGER-CW-
CW-34        None         forwarding instruction to deliver draft
                                                                         00000069-70
                                  appraisal to Naselsky
                                                                        BERGER-CW-
CW-35        P-71                6/23/06 Draft Appraisal
                                                                      00000093-00000234
                         6/23/06 Email chain between Zeghibe,
CW-36        P-122                                                    BERGER4204305-06
                         Naselsky and Chawla re JFK appraisal
                          6/24/06 Email string from Chawla to
                        Zeghibe and Naselsky, cc to Lilienfield, re
CW-37        P-123                                                     BERGER3003429
                          comments to C&W’s draft River City
                                    appraisal report
                        6/27/06 Email chain between Rappoport,
CW-38        P-126                                                    BERGER4200789-91
                         Chawla, and Zeghibe re JFK appraisal
                        6/27/06 Email from Rappoport to Chawla
CW-39        None      regarding aspects of River City Property not   BERGER4011393-94
                              represented in Draft Appraisal
                        7/4/06 Naselsky Email Thread Requesting         BERGER-CW-
CW-40        P-68
                                Meeting with McNamara                    00000071-72

                                           A-3
        Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 39 of 85




C&W         Cross-
                                 Document Description                    Bates Number
Ex. No.    Reference
                        7/5/06 Email from McNamara to McNeil             BERGER-CW-
CW-41        P-72
                             Regarding Development Value                  00000073-74
                         7/5/06 Email string from McNamara to
                       Naselsky, cc to Steele, re Naselsky’s request
                                                                         BERGER-CW-
CW-42        P-129     to meet to discuss the draft appraisal report
                                                                          00000075-76
                         (advising that McNamara will be on the
                                 vacation the next week)
                        7/20/06 Email from McNeil to Naselsky,
                        attaching a revised draft C&W 2006 draft         BERGER-CW-
CW-43        P-73
                                 appraisal report - $77M                 00000235-365
                             (changes/modifications in bold)
                           9/20/06 Email from W. Martin to A.             BR009106-08
                        Teitelman, cc to Argiropoulos, forwarding
CW-44        None      suggested edits to the Contingent Promissory
                           Note between WAPC and Weinstein
                                      (w/attachment)

                        10/16/06 Email from McNamara to Snider
CW-45        P-75                                                      BERGER4206187-88
                           Regarding Non-Payment of Invoice
                          10/30/06 Email from McNeil to Singh            BERGER-CW-
CW-46        P-76
                                regarding Exposure Time                    00000370
                       10/30/06 Email from McNeil to McNamara            BERGER-CW-
CW-47        P-77
                       Forwarding Singh Email re: Exposure Time            00000371
                        11/16/06 Email from McNeil to Baer Re:
                                                                         BERGER-CW-
CW-48        P-79       Replacement of Photographs and Charts in
                                                                         00000655-791
                                    Final Appraisal
                        11/16/06 Email Chain re Delivery of JFK          BERGER-CW-
CW-49        P-94
                              Final Appraisal to Naselsky                00000792-794
                         11/16/06 Email from McNeil to O. Baer,
                                                                         BERGER-CW-
CW-50        P-78        attaching a copy of the final 2006 C&W
                                                                         00000372-518
                                     appraisal - $77M
                        Final C&W appraisal report for JFK GP—
CW-51        P-93        addressed to Naselsky at Cozen - $77M         BERGER4210692-837
                          (dated 6/23/06; transmitted 11/16/06)



                                           A-4
        Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 40 of 85




C&W         Cross-
                                 Document Description                     Bates Number
Ex. No.    Reference
                       11/17/06 Email chain re JFK final appraisal
CW-52        P-200                                                        BR008119-22
                            and $77 million appraised value
                        11/17/06 Email from Baer to Naselsky re
                        C&W’s FP-inal Appraisal (request for the
CW-53        P-201                                                        BR007938-41
                       Cover page to be re-addressed to Naselsky at
                                      Blank Rome)
                       11/23/06 final C&W appraisal report for JFK
CW-54        P-80       GP- addressed to Naselsky at Blank Rome -        BR000866-1012
                                          $77M
                        2/8/07 Email from McNamara to Naselsky            BERGER-CW-
CW-55        None
                          regarding disclosure of appraisal report         00000082-83
                        5/15/06 Email from Rappoport to Chawla
                                                                        BERGER4000782-
CW-56        D-66         forwarding draft memo re River City
                                                                           4000790
                                     Development
                        7/10/06 Letter from Chawla to Jack Koppel
CW-57        None      re C&K LLC’s offer letter to purchase River      BERGER4198133-34
                                       City Property
                        7/11/06 Letter from Chawla to Jack Koppel
CW-58        D-72      re Gindy’s offer letter to purchase River City   BERGER3004779-80
                                          Property
                        7/26/06 Nominee Agreement between JFK
CW-59        P-38                                                        BR009620-009634
                           GP LLC and JFK Philadelphia LLC
                       7/26/06 Email from Teitelman to Zeghibe re
CW-60        None       C&K LLC’s offer letter to purchase River        BERGER4051418-22
                                      City Property
                       7/26/06 Email from Rappoport to Naselsky
CW-61        None                                                       BERGER4026267-77
                        et al. Enclosing Revised Zoning Analysis
                          8/4/06 First Amendment to Nominee
CW-62        None       Agreement between JFK GP LLC and JFK              BR009616-19
                                    Philadelphia LLC
                        8/11/06 Draft Agreement of Sale between
CW-63        P-132                                                        BR009901-33
                                JFK GP LLC and WAP



                                           A-5
        Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 41 of 85




C&W         Cross-
                                 Document Description                    Bates Number
Ex. No.    Reference
                       8/11/06 Email from Naselsky to J. Kennedy
CW-64        None       enclosing Agreement of Sale between JFK            BR009869
                                   GP LLC and WAP
                        10/20/06 Email from Teitelman to Chawla
CW-65        D-84                                                      BERGER4046331-341
                          forwarding JFK Nominee Agreement
                       11/13/06 email from A. Singh to Weiner and
                        Wolfer of KFI, cc to Chawla, Naselsky and
CW-66        P-140                                                     BERGER4036329-40
                          Teitelman, attaching executed 6/30/06
                       nominee agreementNone$55 million (D-70)
                           11/18/06 Email from McNamara to
                                                                         BERGER-CW-
CW-67        P-82      Urguhart-Bradley quoting from GlobeSt.com
                                                                          0000079-80
                                  article re River City
                          12/21/06 Term Sheet for River City to
CW-68        D-76                                                       BERGER3001694
                                   Rosdev Developers
                        12/21/06 Email Chawla to Weinstein et al.       BERGER4202143-
CW-69        None
                              Forwarding Globe St. Article                 4202144
                        7/9/07 Purchase Agreement between JFK           BERGER3003991-
CW-70        D-71
                          Partners LP and Phila JFK ARC, LP                 4007
                         1/13/08 Letter from Robert Ambrosi to
CW-71        D-77       Chawla re proposed joint venture between       BERGER3002954-55
                                ARC Properties and JFK
                       4/10/08 Letter of Intent from JFK Partners to
CW-72        D-78                                                            None
                                      ARC Properties
                       12/17/09 Letter from Louis Lipsky to Daniel
                                                                        BERGER3001076-
CW-73       P-133A     Boglioli, Esq. attaching 6/28/07 Agreement
                                                                            1110
                         of Sale between JFK GP LLC and WAP
                       Defendant Chawla’s 12/24/09 Responses and
CW-74        D-79          Objections to Plaintiffs’ First Set of      BERGER3002008-28
                           Financial Interrogatories (Berger II)
                       5/14/10 Sketches and Calculations Prepared
CW-75        None                                                      BERGER3006081-125
                            by James Rappoport re River City
                          Undated Reinstatement of Nominee
CW-76        P-158     Agreement between JFK GP LLC, Zeghibe           BERGER4198536-39
                             and JFK Philadelphia LLC
                                           A-6
        Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 42 of 85




C&W         Cross-
                                  Document Description                   Bates Number
Ex. No.    Reference
           Excerpt of                                                  BERGER-ARH-0001-
CW-77                           JLL Offering Memorandum
            D-114                                                           0183
             None         Bill No. 060292, introduced 4/20/06, by         BR012808-9
CW-78                             Councilmember Clarke

             None         5/11/06 City Council Notice re: Bill No.         BR005921
CW-79                                    060292

             None          5/11/06 Journal of the City Council of      BERGER5000243-71
CW-80                                  Philadelphia

             None         Bill No. 060292-A (as amended on floor          BR012176-8
CW-81                                    5/25/06)

             None        6/8/06 Council of the City of Philadelphia          None
CW-82                               meeting minutes

             None           6/8/06 Journal of the City Council of      BERGER5000272-337
CW-83                                   Philadelphia

                         6/26/06 Email from Rappoport to Naselsky
CW-84        None        regarding retention of various development    BERGER4011386-87
                                        professionals
             None       7/21/06 Email from Rappoport to C. Wright,     BERGER4024816-7
CW-85                   B. Hathaway, cc to Chawla and Zeghibe, re:
                        Philadelphia River City zoning and planning

             None        8/9/06 Email string between Naselsky and         BR012244-5
CW-86                          Rappoport re• filing with L&I

             None          8/10/06 Email from Chawla to CBRE,              BR009935
                        Naselsky, Zeghibe, A. Singh and T. Singh re:
CW-87                    financing based upon $50 million contract
                                           price




                                            A-7
        Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 43 of 85




C&W         Cross-
                                 Document Description                     Bates Number
Ex. No.    Reference
             P-147       8/11/06 Memorandum from Naselsky to               BR012227- 8
                          Amengual, cc to Zeghibe re River City
CW-88                        properties (requesting a letter of
                            authorization for JFK GP to file an
                                  application with L&I)

             None      8/21/06 Letter from Rappoport to Citizens of     BERGER4026481-2
CW-89                         Philadelphia and Mayor Street

             P-36      8/21/06 Email string from Naselsky to Kerr,         BR012905-6
CW-90                    forwarding an email from Rappoport re
                            comments to the proposed overlay

                        8/23/06 Email from Naselsky to Amengual,
                          Schwartz, cc to Chawla and Zeghibe re           BR012158-61 and
CW-91        P-150     impact of height control ordinance, attaching   attached plot plan with
                          Rappoport’s 8/23/06-dated square foot            no bates number
                               analysis of parcels D and E)
             P-39      8/23/06 Email from Naselsky to Rappoport,             BR012936
CW-92                  with copies to Kerr, Chawla and Zeghibe, re
                        information needed for the comfort letter

                          8/23/06 Email from Naselsky to Ken,
CW-93                       forwarding multiple documents re
             P-40                                                          BR012911-30
                                Rappoport's master plan

                       8/24/06 Email string between Rappoport and          BR013000-16
CW-94                  Naselsky re Rappoport's zoning analysis for
             None
                                        River City

                         8/24/06 Email chain between Rappoport,
CW-95        P-162        Chawla and Naselsky re comfort letter         BR009348-009363
                       (showing 12 MM SF with height limitation)
                       8/25/06 email from Chawla to Naselsky and
CW-96        P-165                                                           BR009337
                         Krawiecki outlining deal points for JFK
                         8/29/06 email from Sahaya to Chawla
CW-97        P-167      outlining verbal agreements at meeting re      BERGER3000923-24
                                  JFK and 2040 Market
                                           A-8
        Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 44 of 85




C&W         Cross-
                                 Document Description                    Bates Number
Ex. No.    Reference
                       8/31/06 email string between Chawla and
CW-98                  Naselsky re JFK and 2040 opinion/comfort
             P-169                                                       BR009309-10
                                         letter

                          9/2/06 Email from Naselsky to Kerr,
                         forwarding a table and narrative from
CW-99        P-47                                                        BR013039-42
                        Rappoport providing a zoning gross floor
                                area summary per parcel

                       9/7/06 email from Rappoport to Naselsky re
CW-100                 River City (inc. filing with L&I by 9/15/06),
             P-152                                                       BR000567-69
                                  with Naselsky's notes

                       9/8/06 Draft Memo from Naselsky to Kerr re
CW-101       P-49                                                        BR012055-60
                                       River City
                         9/12/06 Email from Chawla to A. Singh,
                       forwarding an email string between P. Levy
CW-102       None                                                      BERGER4201640-2
                          and Rappoport re: the Parkway Height
                                        Controls

                       9/12/06 Email string between Rappoport and
CW-103                 M. Soffer (Director, Development Planning
             None                                                      BERGER40250151-8
                                Division) re: River City

                       9/12/06 Email string between Rappoport and
CW-104                 Naselsky re filing zoning/permit application
             P-45                                                          BR009236
                        before the clock restarts for Mayoral action

                       9/13/06 Email from Naselsky to Rappoport,
                        cc to Kerr, Chawla and Zeghibe, attaching
CW-105       None                                                        BR013101-09
                       mark-up to Rappoport's transmittal letter to
                               L&I and zoning application

             None         9/14/06 Application for Zoning/Use
CW-106                 Registration Permit (Application No. 29743,
                                                                           BR000434
                              stamped 9/15/06 @ 9:22 a.m.)




                                           A-9
      Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 45 of 85




C&W        Cross-
                                Document Description                 Bates Number
Ex. No.   Reference
                          Application for City of Philadelphia
CW-107      None         Zoning/Use Registration Permit dated        BR006164-6212
                                        9/14/06
                      9/14/06 Council of the City of Philadelphia
CW-108                         Resolution (No. 060662)
            None                                                         None

                      9/14/06 City of Philadelphia Communication
CW-109                           re: Bill No. 060292-A
            None                                                    BERGER5000338

                      9/14/06 City of Philadelphia Resolution No.
CW-110                      060662 re: Bill No. 060292-A
            None                                                    BERGER5000339

            None      9/15/06 Email string between Rappoport and
CW-111                   Naselsky re: Parkway Height Control
                                                                      BR011894-5
                                       Ordinance

                      9/18/06 Email from Naselsky to Amengual,
                          cc to Chawla and Zeghibe, re: Third
CW-112      None                                                    BERGER4205584-5
                       Amendment to the 5/12/06 Agreement of
                                         Sale

                      9/22/06 Email from Naselsky to Chawla, cc
CW-113                  to Zeghibe and Teitelman, attaching the
            None                                                      BR011320-6
                               River City zoning memo

                      9/25/06 Email from Rappoport to Naselsky
CW-114      P-51                                                      BR011825-31
                            forwarding draft 9/8/06 memo
                       9/25/06 email from Naselsky to Rappoport
CW-115      P-52                                                      BR009039-46
                       forwarding his edits to draft 9/8/06 memo
                      9/28/06 Email string between Naselsky and
                         Amengual re: Default of the 5/12/06
CW-116      None                                                      BR011651-3
                        Agreement of Sale and Parkway Height
                                 Control Ordinance

                      10/5/06 email from Laura Spina forwarding
CW-117      P-53                                                     BR013187-203
                       corrected 5-18-06 PCPC minutes to Kerr
                                         A-10
      Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 46 of 85




C&W        Cross-
                                Document Description                     Bates Number
Ex. No.   Reference
                        10/6/06 email chain between Rappoport,
                         Chawla and Naselsky re meeting with
CW-118      None                                                       BERGER3001660-61
                      SEPTA and L&I enforcement of the 125 foot
                                       ordinance
                      10/6/06 Email from Naselsky to Rappoport
CW-119     P-184                                                          BR011577-8
                                       re L&I
                       10/6/06 email from Noonan to Naselsky re
CW-120     P-185                                                           BR008834
                                   height ordinance
                       10/11/06 email from Naselsky to Grasso re
CW-121     P-187                                                         BR011550-51
                               status of height ordinance
CW-122      P-59      11/6/06 Blank Rome Zoning Memo (Final)             BR011321-326
                      11/20/06 email from Rappoport to Chawla,
                      Zeghibe and Naselsky forwarding notes for
CW-123     P-204        discussion as River City was placed on           BR007925-027
                        agenda of meeting with the mayor and
                                       governor
           P-202        11/20/06 Email from Naselsky to Chawla             BR018932
CW-124                and Zeghibe, cc to Teitelman, re overlay bill,
                            potential carve out for River City

                       11/22/06 Email chain with Levy, Sklaroff,
CW-125     P-222                                                         BR007253-55
                      Kelsen, Kerr and Chawla re height ordinance
                         11/22/06 Email string from Chawla to
                      Teitelman and Wright, cc to Zeghibe and H.
CW-126     P-208                                                       BERGER3000004-5
                      Chawla, forwarding an email from Naselsky
                                    re overlay bill

                          11/22/06 Email string from Chawla to
                      Teitelman, Wright, and A. Singh forwarding
           P-210                                                       BERGER3001724-27
CW-127                an email from Naselsky re proposed changes
                        to the Parkway Height Controls (w/ least
                                        impact)

                           Bill No. 060292-A (as Amended in
CW-128                            Committee 11/28/06)
            None                                                       BERGER5000663-4

                                          A-11
      Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 47 of 85




C&W        Cross-
                                Document Description                    Bates Number
Ex. No.   Reference
                        11/28/06 Email from Naselsky to Chawla
                       and Zeghibe, with a copy to Teitelman and
            P-22                                                        BR011260-62
CW-129                   Rappoport, forwarding an earlier email
                        Naselsky sent to Zeghibe re the Benjamin
                          Franklin Parkway Overlay Ordinance

                          11/30/06 Email exchange between
                      Rappoport and Naselsky re: discussions with
CW-130      None                                                         BR007627-8
                        the zoning department examiner re: the
                                  zoning application

                      12/1/06 Email from Chawla to Teitelman and
                         Wright, forwarding earlier emails from
CW-131      None                                                      BERGER3010660-2
                      Rappoport and M. Cobb re: Bill No. 060292-
                                          A

                       12/6/06 Email from Chawla to Zeghibe and
                      Teitelman, forwarding an earlier email from
CW-132      None                                                      BERGER4049924-5
                         Rappoport to W. Carter re: Councilman
                      Clarke's Parkway height restriction ordinance

                      12/7/06 email from Rappoport to Chawla and
CW-133     P-220       Naselsky forwarding letter from Clarke re      BERGER4144582-83
                                    height ordinance
                        12/14/06 Daily News article titled "River
CW-134      P-98                                                            None
                                  City Stirs A Fuss"
            None      12/14/06 Council of the City of Philadelphia          None
CW-135                            meeting minutes

                        12/22/06 Email chain discussing attached
CW-136     P-209        letter from Karen Daroff to Ed Rendell’s      BERGER3001722-23
                                assistant re height ordinance
            None       1/18/07 Email string between Chawla and        BERGER3004854-5
CW-137                  Rappoport re: River City square footage




                                         A-12
      Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 48 of 85




C&W        Cross-
                                Document Description                   Bates Number
Ex. No.   Reference


CW-138      None      Bill No. 060292-A, signed by the Mayor on            None
                                       1/23/07

                       Certified Translation of 6/5/06 Contract of
CW-139      D-86      Agreement between Guttman and Berger for       BERGER5000730-32
                              ten buildings in Philadelphia
                      Certified Translation of 6/26/06 Contract of
CW-140      D-87      Agreement between Yitzchak, Guttman and        BERGER5000733-37
                       Berger for 315 N. 12th St. in Philadelphia
                      7/26/06 Nominee Agreement between JFK
                         GP and Zeghibe, as nominee, and JFK
            P-38       Philadelphia LLC, as owner, regarding the        BR009620-34
CW-141
                       purchase of River City for the transaction
                      price of $67 5 million (executed by JFK GP
                                      & Zeghibe)
                        Philadelphia River City brochure from
CW-142      D-32       WAP/Daroff Designs (8/29/06) (black and       BERGER3000318-349
                                       white)
                      8/29/06 Daroff Design booklet titled: World
CW-143     D-107       Acquisition Partners Corporation presents           None
                            Philadelphia River City (color)
                        Fax from Weinstein to Heskel Kish for
CW-144      D-33        Berger re 2040 Market and River City         BERGER3000281-83
                             projects showing fax header
                      9/20/06 Email chain between Argiropoulos,
CW-145     P-180                                                        BR011853-55
                         Teitelman and Naselsky re River City
                        9/20/06 Email chain between Naselsky,
CW-146     P-182                                                        BR009080-82
                          Chawla and Teitelman re River City
                          9/20/06 Email from W. Martin to A.         BERGER4213067-74
                       Teitelman, cc to Argiropoulos, forwarding
CW-147      None      suggested edits to the Contingent Promissory
                          Note between WAPC and Weinstein
                                     (w/attachment)

                                         A-13
      Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 49 of 85




C&W        Cross-
                                Document Description                   Bates Number
Ex. No.   Reference
                      9/21/06 Email from Argiropoulos to Sahaya,
            None       forwarding an email to Teitelman, Chawla,     BERGER4194042-45
CW-148
                          Zeghibe, A. Singh, Weinstein, and R.
                       Neumann re: deposit monies for River City
                        9/21/06 Email chain between Naselsky,
CW-149     P-181                                                        BR009073-76
                       Teitelman and Argiropoulos re River City
                      9/26/06 Nominee Agreement between WAP
CW-150     P-177                                                     BERGER4188683-700
                                   and Weinstein
                          9/26/06 Nominee Agreement between
                         WAPC, as nominee, and Weinstein, as
CW-151      D-2                                                      BERGER3008715-28
                       owner, to take ownership of River City for
                        the transaction price of up to $70 million
                       9/26/06 Contingent Promissory Note and
CW-152      D-3        Security Agreement between WAPC, as           BERGER3002557-60
                           holder, and Weinstein, as obligor
                        10/5/06 Email from Chawla to Zeghibe
CW-153      None                                                     BERGER3003655-67
                        enclosing Weinstein financial materials
                      10/21/06 Email chain between Naselsky and
CW-154     P-191                                                        BR008660-61
                           Chawla re nomination agreement
                         10/23/06 email from Hilary Sacks to
CW-155     P-192      Naselsky forwarding summary of R&F Penn           BR006144-48
                       Center and JFK Group Agreement of Sale
                      10/25/06 email from Teitelman to Naselsky,        BR008585-97
CW-156      None      cc Chawla, A. Singh re nominee agreement
                       (attaching 6/30/06 Nominee Agreement)
                      Undated Draft summary of R&F Penn Center
CW-157     P-193                                                        BR000509-12
                          and JFK Group Agreement of Sale
CW-158     P-194       Undated Draft charts regarding nominees         BR000497-508
                        11/3/06 fax from Krawiecki (CBRE) to
CW-159      D-73                                                     BERGER3003671-374
                         Singh attaching Weinstein’s resume
                       11/4/06 Email from Chawla to Zeghibe re:
CW-160      None                                                     BERGER3000570-71
                                 Weinstein’s resume



                                         A-14
      Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 50 of 85




C&W        Cross-
                                Document Description                   Bates Number
Ex. No.   Reference
                      11/16/06 draft commitment from Kennedy
CW-161     P-199                                                       BR000625-645
                          Funding to Chawla for $45 million
            None      11/22/06 Commitment from KFI to WAPC           BERGER4140493-507
CW-162
                           re: $35 million financing request
                      North Fork Bank statement re Pine Projects
CW-163      None                                                     BERGER4044256-70
                              LLC (11/30/06- 12/31/07)
                      12/1/06 Email from Naselsky to KFI, cc to         BR011204-5
CW-164      None         Chawla, Zeghibe and Teitelman, re:
                                  Naselsky's role
                       12/8/06 Email from Chawla to Weinstein
CW-165      None      forwarding email from Singh to Kish with       BERGER3001184-92
                                 Appraisal Excerpts
                       12/8/06 Email from Chawla to Weinstein
CW-166      None      forwarding email from Singh to Kish with       BERGER3005820-969
                                Complete Appraisal
                       12/12/06 Email from Teitelman to Martin          BR007294-95
                       and Argiropoulos, cc to Chawla, Zeghibe,
                        Naselsky, A. Singh, T. Singh, B.Perini,
CW-167     P-228         Graff, Neumann, Sahaya re Settlement
                       Notice - JFK (Philadelphia River City)—
                      closing will take place on 12/18/06 at Blank
                                          Rome
                       12/13/06 Email chain between Teitelman,
CW-168     P-227      Argiropoulos and Naselsky re settlement on        BR014189-93
                                     River City
                      12/15/06 email chain from Argiropoulos to
                          Teitelman and Chawla requesting
CW-169      D-7                                                       BERGER3008666
                        confirmation of $20 million wire from
                          Weinstein to Montgomery Abstract
                      12/15/06 Email from Teitelman to multiple
                      recipients, including Kennedy Funding, Inc.
                           (“KFI”), regarding Weinstein wire
CW-170      D-8                                                      BERGER3008685-86
                          confirmation, attaching a letter from
                            Weinstein to Chawla, confirming
                       Weinstein’s wire of $13.5 million for JFK
                                         A-15
      Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 51 of 85




C&W        Cross-
                                Document Description                     Bates Number
Ex. No.   Reference
                      12/16/06 Email exchange from J. Weiner to
                       Teitelman, cc to Chawla, R. Krawiecki, T.
CW-171      None      Singh, A. Singh, B. Perini, re: confirmation     BERGER4034590-92
                      from Fox Rothschild of wire for River City
                                    from Weinstein
                      12/17/06 Letter from Chaim Leifer to Berger
CW-172      D-34                                                       BERGER4209759-60
                                  (written in Hebrew)
                        12/18/06 Letter from Kilbride to ABN
                         AMRO Bank re: $12 million debit to
CW-173      D-40                                                       BERGER3005976-79
                        Montgomery Abstract Corp. Settlement
                                   Trust Account
                        12/18/06 Email from Chawla to Zeghibe
CW-174      None                                                       BERGER3003712-13
                      containing confirmation of $12 million wire
                         12/19/06 Email chain between Singh,
                        Naselsky and Teitelman forwarding the
CW-175     P-233                                                       BERGER4034514-17
                       confirmation from ABN Amro Bank of the
                                   $12 million wire
                      12/19/06 Nominee Agreement between JFK
                      BLVD Acquisition Partners, LP, as nominee,
CW-176      D-6        and Weinstein, as owner, to take ownership      BERGER3008737-50
                       of River City for the transaction price of up
                                      to $70 million
                      12/19/06 Assignment of Agreement of Sale
                      between JFK BLVD Acquisition GP, LLC
CW-177      D-75       (as assignor) and JFK BLVD Acquisition          BERGER3002554-55
                         Partners, L.P. (as assignee) re: 5/12/06
                             Agreement of Sale as amended
                          12/19/06 Email from Teitelman to
                       Argiropoulos and Martin, cc to Chawla,           BERGER3000638
CW-178
            None      Zeghibe, Krawiecki, A. Singh, T Singh and
                      Weinstein, re: Revised Nominee Agreement
                       12/19/06 letter agreement from JFK GP to            BR016339
CW-179      None        R&F Penn to adjourn the closing date to
                                        12/20/06




                                          A-16
      Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 52 of 85




C&W        Cross-
                               Document Description                  Bates Number
Ex. No.   Reference
                        12/20/06 letter from Argiropoulos to
CW-180      D-11      Kennedy Funding re $12 million wired by       BERGER1009267
                                      Weinstein
                        12/20/06 Email from Argiropoulos to
                        Teitelman, Martin and Weinstein, with
CW-181      D-9       copies to Chawla, CBRE Melody, WAPC,          BERGER4213895
                        and assurance abstract re: River City/
                             Weinstein’s escrowed funds
                      12/20/06 Settlement Statement re JFK GP’s
CW-182     P-130                                                     BR017215-16
                        purchase of River City from R&F Penn
                       12/20/06 letter from Argiropoulos to KFI,   BERGER1009264-66
                      incorporating KFI's comments and adding a
CW-183
            None        waiver to KFI on behalf of Weinstein re:
                                   River City Project
                      North Fork Bank statement re Pine Projects
CW-184     P-270                                                   BERGER4044271-88
                              LLC (12/31/06- 01/31/07)
                      1/2/07 Email from Teitelman to Chawla and    BERGER3004982-
                         Zeghibe, cc to C. Wright, Rosenberg,          5007
CW-185      None          Herskowitz, J.Morris, attaching draft
                        Agreement of Sale between JFK LP and
                                        Rosdev
                      1/8/07 Ardenlink Customer Order Form to
                       Barclays International Payment Service,
CW-186      D-52                                                    BERGER3002941
                        requesting wire to Pine Projects in the
                                 amount of $6 million
                      1/8/07 Towerstates Customer Order Form to
                        Barclays International Payment Service,
CW-187      D-57                                                    BERGER1008506
                         requesting wire to Pine Projects in the
                                  amount of $4 million
            None      1/12/07 through 2/4/07 text messages from     BERGER4212723
CW-188
                               E. Weinstein to B. Berger
                      1/18/07 Bergfeld Customer Order Form to
                       Barclays International Payment Service,
CW-189      D-62                                                    BERGER1008504
                        requesting wire to Pine Projects in the
                                 amount of $5 million
                                        A-17
      Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 53 of 85




C&W        Cross-
                                Document Description                    Bates Number
Ex. No.   Reference
                       1/29/07 fax from Argiropoulos to Berger
CW-190      D-14                                                      BERGER3005079-80
                       memorializing discussion with Weinstein
                           1/29/07 faxed correspondence from
                        Argiropoulos to G. Berger re Philadelphia
CW-191      D-90       transactions, attaching nominee agreement,     BERGER3002513-50
                          contingent promissory note, additional
                            closing costs and closing statement
                          1/31/07 Email from Argiropoulos to
CW-192      None          Weinstein, confirming the terms of           BERGER1008232
                          Weinstein’s agreement with Berger
                       2/1/07 Letter from Weinstein to Berger re:
CW-193      None                                                       BERGER3003958
                           Weinstein’s commitment to Berger
                      2/7/07 email from Argiropoulos to Weinstein
                          forwarding notice from Montgomery
CW-194      D-27                                                       BERGER4113614
                        Abstract that the escrow agreement is null
                             and void as check was returned
                          2/2/07 Email from Argiropoulos to           BERGER3002607-32
CW-195      None      Eisenberger, cc to Weinstein, attaching draft
                                 operating agreement
                           2/2/07 Email from Argiropoulos to           BERGER4211968
CW-196
            None                  Weinstein re: status
                          2/6/07 email from Kish to Weinstein
CW-197      None                                                       BERGER4129182
                           requesting information about JFK
                      2/6/07 Letter from Argiropoulos to Sheldon
                         Eisenberger re: Weinstein and Berger
CW-198      D-26                                                      BERGER3008198-200
                          (termination of any and all business
                                      relationships)
                       2/7/07 Email string between Argiropoulos       BERGER3008186-88
                          and Eisenberger, cc to Weinstein, re:
CW-199
            None           agreement between Weinstein and
                                   Berger/settlement




                                         A-18
      Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 54 of 85




C&W        Cross-
                                Document Description                   Bates Number
Ex. No.   Reference
                        2/8/07 Email between Argiropoulos and        BERGER4113633-36
                        Weinstein forwarding an email exchange
CW-200      None       between Argiropoulos and Eisenberger re:
                           agreement between Weinstein and
                                   Berger/settlement
                         2/12/07 Letter from Eisenberger to          BERGER3003959-60
CW-201
            None        Argiropoulos re: Berger and Weinstein
            None      2/16/07 Email from Ormonde to Weinstein,       BERGER4211974-5
CW-202                cc to Bellet, Eisenberger and Argiropoulos,
                               re: Berger and Weinstein
                      2/19/07 Email from Ormonde to Eisenberger       BERGER1008226
            None           and Bellet, forwarding an email to
CW-203
                       Argiropoulos in response to Argiropoulos'
                                     2/16/07 email
                      2/19/07 Email from Ormonde to Weinstein,       BERGER4212275-6
            None       cc to Eisenberger, attaching a Letter from
CW-204
                         Berger to Weinstein re: Acceptance of
                                     Termination
            None           2/19/07 Letter from Eisenberger to        BERGER3002707-9
CW-205                Argiropoulos, attaching a Letter from Berger
                      to Weinstein re: Acceptance of Termination
                        2/19/07 Letter from Berger to Weinstein
CW-206      None                                                      BERGER3000711
                               requesting return of funds
                      2/28/07 North Fork Bank Statement for Acct
CW-207      None       # 5484001291 for the period of 1/31/07 to     BERGER4044289-303
                                       2/28/07
                      3/13/07 Email string from Argiropoulos to      BERGER4113748-50
            None       Weinstein, forwarding an email exchange
CW-208
                      between Argiropoulos and Eisenberger re:
                                Weinstein and Berger
CW-209      None         3/25/07 Email from Kish to Weinstein        BERGER4129183-85
                      3/31/07 North Fork Bank Statement for Acct
CW-210      None       # 5484001291 for the period of 2/28/07 to     BERGER4044304-21
                                       3/31/07

                                         A-19
      Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 55 of 85




C&W        Cross-
                                Document Description                    Bates Number
Ex. No.   Reference
                      3/31/07 North Fork Bank Statement re: Pine
CW-211      D-31                                                      (BERGER3000060
                                     Projects LLC
                      4/30/07 North Fork Bank Statement for Acct
CW-212      None       # 5484001291 for the period of 3/31/07 to      BERGER4044322-39
                                       4/30/07
                           5/15/07 Letter from Teitelman to           BERGER3009360-2
                      Weinstein/Pine Projects and Argiropoulos re:
CW-213
            None       Notice of Default re: 12/19/06 Nominee
                                      Agreement
                      5/31/07 North Fork Bank Statement for Acct
CW-214      None       # 5484001291 for the period of 4/30/07 to      BERGER4044340-59
                                       5/31/07
                           6/20/07 Letter from Teitelman to
                      Weinstein/Pine Projects and Argiropoulos re:
CW-215      None                                                      BERGER4003606-08
                       Notice of Default re: 12/19/06 Nominee
                                      Agreement
                      6/30/07 North Fork Bank Statement for Acct
CW-216      None       # 5484001291 for the period of 5/31/07 to      BERGER4044360-75
                                       6/30/07
                       8/15/07 Email string from Teitelman, re:
CW-217      D-15      Berger v. Weinstein, attaching Fake Checks      BERGER3008173-84
                                Pine Projects Weinstein
                      9/30/07 Bergfeld statement, including debit
CW-218      D-63      to Pine Projects on 1/19/07 in the amount of    BERGER4210550-51
                                     £2,546,862.27
                      12/31/07 Busystore Limited statement listing
CW-219      D-46        debits on 1/8/07 paid by Towerstates and       BERGER4210553
                        Ardenlink for Busystore to Pine Projects
                          4/22/08 Email chain between Richard
                      Seltzer, Brian Corcoran and Martin Kilkeary
CW-220      D-39                                                            None
                       re Seltzer’s assertion he does not intend to
                      seek redress from C&W and asking for help
CW-221      None         Animation of River City Development          BERGER4004855-B


                                         A-20
      Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 56 of 85




C&W        Cross-
                                  Document Description                   Bates Number
Ex. No.   Reference
           MSJ Ex.
CW-222                      Fly-thru of River City Development         BERGER4004855-C
           CW-12
                          Translation of Leifer Letter by Chaim
CW-223      P-268         Saiman–Appendix A to Saiman Expert                 None
                                          Report
CW-224      D-38           Summary of JFK Project Costs/Equity         BERGER3004662-63
CW-225      None           Kilbride Wire Transfer Confirmation         BERGER4212734-37
CW-226      D-45          Busystore Wire Transfer Authorization         BERGER3002935
CW-227      None             Busystore Payment Debit Advice            BERGER4212726-27
CW-228      None          Ardenlink Wire Transfer Confirmation         BERGER4212732-33
CW-229      D-57         Towerstates Wire Transfer Authorization        BERGER100850
CW-230      None         Towerstates Wire Transfer Debit Advice        BERGER4212730-31
CW-231      None           Bergfeld Wire Transfer Debit Advice         BERGER4212728-29
                              Hepplewhite & Co. Accounting
CW-232      D-49                                                        BERGER0000324
                                     Memorandum
          D-92 (first
                        Photos of arrest of Weinstein and Amended
          two pages
CW-233                  Complaint in Berger v. 287 Webster Realty            None
          rec’d from
                                      Associates LLC
            ct rptr)
                        Daroff Designs Power Point Presentation of
CW-234                                                                 BERGER4004855-A
                                     River City (ppt)
                           Undated 3-page handwritten fax from
            D-28         Weinstein to Heskel Kish, attention Berish
CW-235                                                                 BERGER3008217-19
                        Berger, re: 2040 Market (p.2) and River City
                                           (p.3)
                           Enforcement Docket, No. 2010-10557
CW-236      None                                                             None
                                  (Bucks County C.C.P.
                           Enforcement Docket, No. 2015-05601
CW-237      None                                                             None
                                  (Bucks County C.C.P.)
                           Enforcement Docket, No. 2010-29905
CW-238      None                                                             None
                              (Montgomery County C.C.P.)

                                           A-21
      Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 57 of 85




C&W        Cross-
                                Document Description                    Bates Number
Ex. No.   Reference
                        Enforcement Docket, No. 2010-013265
CW-239      None                                                             None
                              (Delaware County C.C.P.)
                        Approval of Tower Roils Spring Garden,
          MSJ Ex.
CW-240                 PHILA. INQUIRER Article Dated 3/23/06                 None
          CW-52
                       by Joseph A. Slobodzian and Jennifer Lin
                      Legislative File of Bill 060292-A (4/20/06 –     BERGER5000214
CW-241      None
                                         1/23/07)
                      4/20/06 Council of the City of Philadelphia
CW-242      None                                                             None
                                  meeting minutes
          MSJ Ex.        4/28/06 Public Hearing Notice on Bill
CW-243                                                                    BR005913
          CW-94                         060292
                       5/10/06 minutes of Council of the City of
CW-244      None                                                             None
                          Philadelphia, Committee on Rules
                      5/25/06 Council of the City of Philadelphia
CW-245      None                                                             None
                                  meeting minutes
                      9/14/06 Council of the City of Philadelphia
CW-246      None                                                             None
                                  meeting minutes
          MSJ Ex.        11/8/06 Public Hearing Notice on Bill
CW-247                                                                    BR005923
          CW-58                         060292
                      11/28/06 Council of the City of Philadelphia,
CW-248      None                                                        No Bates Stamps
                         Committee on Rules meeting minutes
CW-249      None             Certified Copy of Bill 060292                   None
          MSJ Ex.
CW-250                   Legislative History for Bill 060292-A               None
          CW-54
CW-251      None       Journal of the City Council of Philadelphia    BERGER5000221-344
CW-252     P-268            Expert Report of Chaim Saiman                    None
CW-253     P-267       Curriculum Vitae of Chaim Saiman, Esq.                None
CW-254     P-269          Curriculum Vitae of David Glusman                  None
CW-255     P-275            Expert Report of Peter Korpacz                   None
CW-256     P-275           Curriculum Vitae of Peter Korpacz                 None

                                         A-22
      Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 58 of 85




C&W        Cross-
                                Document Description                 Bates Number
Ex. No.   Reference
                      First Amended Supplement to Expert Report
CW-257     P-276                                                        None
                                  of Peter Korpacz
                        Second Amended Supplement to Expert
CW-258      None                                                        None
                               Report of Peter Korpacz
                       John Robert White, “George Washington
CW-259      None                                                        None
                       Bridge Approach: A Case Study” (1966)
                      Knight Frank and Newmark Grubb Knight
CW-260      None                                                        None
                       Frank, “Global Cities: The 2016 Report”
                       Pages From Website for the World Trade
CW-261      None                                                        None
                                     Center
CW-262      None        Pages From Website for Hudson Yards             None
CW-263      None       Pages From Website for Peachtree Center          None
                      Expert Report of Paula Konikoff and Craig
CW-264     P-274                                                        None
                                       Steinley
CW-265     P-274          Curriculum Vitae of Paula Konikoff            None
CW-266     P-274          Curriculum Vitae of Craig Steinley            None
                           2016-2017 Uniform Standards of
CW-267      D-95                                                        None
                            Professional Appraisal Practice
                      Pennsylvania Real Estate Certification Act,
CW-268      None                                                        None
                           P.L. 404, No 98, As Amended
          MSJ Ex.     The Appraisal of Real Estate, 14th Edition,
CW-269                                                                  None
          CW-75         Appraisal Institute, Chicago, IL, 2013
                        Appraising the Appraisal: The Art of
                       Appraisal Review, 3rd Edition, Appraisal
CW-270      None                                                        None
                                      Institute,
                                  Chicago, IL 2010
                      The Dictionary of Real Estate Appraisal, 6th
          MSJ Ex.
CW-271                 Edition, Appraisal Institute, Chicago, IL        None
          CW-78
                                         2015
                        Getting Real about Urbanism, the Urban
CW-272      None                                                        None
                                 Land Institute, 2008

                                         A-23
      Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 59 of 85




C&W        Cross-
                                Document Description                 Bates Number
Ex. No.   Reference
                         Market Analysis for Real Estate, 2nd
CW-273      None        Edition, Appraisal Institute, Chicago, IL,      None
                                          2014
                       Review Theory and Procedures, Appraisal
CW-274      D-98                                                        None
                             Institute, Chicago, IL 2015
                         Sorenson, R., The Art of Reviewing
                        Appraisals, The Appraisal Journal, July
CW-275      None                                                        None
                                 1991, The Appraisal
                                Institute, Chicago, IL
                         Review Theory — General, Appraisal
CW-276      None                                                        None
                             Institute, Chicago, IL, 2013
                       Appraisal Institute Regulation Number 5:
                      Use of Appraisal Institute Logo, Membership
CW-277      None                                                        None
                         Designations and Emblems, Appraisal
                              Institute, Chicago, IL, 2013
                       Who's On Board 2014 - Mobility Attitudes
                        Survey, Prepared for TransitCenter by
CW-278      None                                                        None
                                      Resource
                               Systems Group (RSG)
                                 Pages From Website -
CW-279      None       https://www.cnu.orgJresources/what-new-          None
                                       urbanism
                      First Amended Complaint from Wolinetz v.
CW-280      None                                                        None
                      Weinstein, No. 08-cv-5046 (D.N.J. 5/20/09)
                      Berger’s Opp’n to Chawla’s MIL re: Affinity
CW-281      None                                                        None
                            Fraud (Berger III, dated 7/8/10)
CW-282      None         10/5/16 Expert Report of Marc Jonas            None
                          10/7/16 Expert Opinion of David H.
CW-283     P-269                                                        None
                                      Glusman
           P-266      10/21/16 Expert Opinion of Alan E. Casnoff
CW-284                           of P+A Associates                      None




                                          A-24
      Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 60 of 85




C&W        Cross-
                                Document Description                Bates Number
Ex. No.   Reference

                       Indictment in U.S.A. v. Weinstein, D.N.J.,
CW-285                     Case No.: 11-CR-701 (10/27/11)              None
            None

                          Certified Copy of Weinstein’s Plea
CW-286      None                                                       None
                        Agreement, Case 11-701 (D.N.J. 1/3/13)
                       Certified Copy of Weinstein’s Sentencing
CW-287      None       Hearing Transcript, Case 11-701 (D.N.J.         None
                                       2/20/14)
                       Certified Copy of Weinstein’s Sentencing
CW-288      None       Hearing Transcript, Case 11-701 (D.N.J.         None
                                       2/24/14)
                       Certified Copy of Weinstein’s Sentencing
CW-289      None       Hearing Transcript, Case 11-701 (D.N.J.         None
                                       2/25/14)
                        Certified Copy of Weinstein’s Redacted
CW-290      None       Criminal Indictment, Case 11-701 (D.N.J.        None
                                       2/25/14)
                      Certified Copy of Weinstein’s Judgment In a
CW-291      None                                                       None
                      Criminal Case, Case 11-701 (D.N.J. 2/26/14)
                      Certified Copy of Weinstein’s Judgment and
CW-292      None       Preliminary Order of Forfeiture, Case No.       None
                                11-701 (D.N.J. 2/26/14)
                        Certified Copy of Weinstein’s Amended
CW-293      None                                                       None
                        Judgment, Case 11-701 (D.N.J. 3/12/14)
                         Certified Copy of Weinstein’s Revised
CW-294      None          Judgment and Preliminary Order of            None
                        Forfeiture, Case 11-701 (D.N.J. 3/12/14)
                       Certified Copy of Weinstein’s Sentencing
CW-295      None        Hearing Minutes, Case 14-219 (D.N.J.           None
                                       3/15/14)
                       Indictment in U.S.A. v. Weinstein, D.N.J.,
CW-296      None                                                       None
                         Case No.: 14-CR-219 (filed 4/17/14)



                                         A-25
      Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 61 of 85




C&W        Cross-
                                Document Description                   Bates Number
Ex. No.   Reference
                      Certified Copy of Weinstein’s Final Order of
CW-297      None                                                           None
                       Forfeiture, Case 11-701 (D.N.J. 7/21/14)
                        Certified Copy of Weinstein’s Amended
CW-298      None         Final Order of Forfeiture, Case 11-701            None
                                    (D.N.J. 7/21/14)
                         Certified Copy of Weinstein’s Plea
CW-299      None                                                           None
                        Agreement, Case 14-219 D.N.J. 9/3/14)
                      Certified Copy of Weinstein’s Judgment in a
CW-300      None          Criminal Case, Case 14-219 (D.N.J.               None
                                       12/16/14)
                         Certified Copy of Weinstein Consent
CW-301      None      Judgment and Order of Forfeiture, Case 14-           None
                                 219 (D.N.J. 1/22/15)
                         Certified Copy of Weinstein Amended
CW-302      None                                                           None
                        Judgment, Case 14-219 (D.N.J. 9/25/15)
          MSJ Ex.
CW-303                Lis Pendens Complaint (Phila. Ct. Com. Pl.)    BERGER3003962-982
          CW-14
                      Answer to First Amended Complaint Berger
CW-304      None                                                           None
                                      I (ECF 85)
                      Answer to First Amended Complaint Berger
CW-305      None                                                           None
                                      I (ECF 86)
                      Answer to First Amended Complaint Berger
CW-306      None                                                           None
                                      I (ECF 89)
                          Amended Answer to First Amended
CW-307      None                                                           None
                            Complaint Berger I (ECF 110)
CW-308      None       Answer to Crossclaim Berger I (ECF 116)             None
CW-309      None       Answer to Crossclaim Berger I (ECF 117)             None
                       Plaintiff’s Answer to Counterclaim (ECF
CW-310      None                                                           None
                                         118)
                       Plaintiff’s Answer to Counterclaim (ECF
CW-311      None                                                           None
                                         119)


                                         A-26
      Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 62 of 85




C&W        Cross-
                               Document Description                  Bates Number
Ex. No.   Reference
                       Plaintiff’s Answer to Counterclaim (ECF
CW-312      None                                                         None
                                         123)
CW-313      None       Answer to Crossclaim Berger I (ECF 136)           None
                        Answer to Counterclaims to Crossclaims
CW-314      None                                                         None
                                  Berger I (ECF 146)
                        Answer to Amended Complaint Berger I
CW-315      None                                                         None
                                    (ECF 220)
                        Answer to Amended Complaint Berger I
CW-316      None                                                         None
                                    (ECF 221)
                      Order Consolidating Cases Berger III (ECF
CW-317      None                                                         None
                                       No. 78)
                      Motion in Limine of the Chawla and Zeghibe
CW-318      None      Defendants to Exclude Evidence Regarding     BERGER0016366-386
                          Religious Affinity Fraud (ECF 195)
          Ex. A to
           Br. in
          Opp’n to     Plaintiffs’ Response to Motion in Limine
CW-319    Mot. to      Regarding Religious Affinity Fraud (ECF     BERGER0017754-789
          Exclude                        209)
          Saiman
           Test.
          Ex. B. to
           Br. in
          Opp’n to
                      Transcript of Oral Argument on Motions in
CW-320    Mot. to                                                  BERGER2000000-51
                                        Limine
          Exclude
          Saiman
           Test.
CW-321      None                 Complaint Berger IV                     None
CW-322      None            Blank Rome Answer Berger IV                  None
CW-323      None               Cozen Answer Berger IV                    None
                      Cushman & Wakefield Answer to Amended
CW-324      None                                                         None
                               Complaint Berger IV

                                        A-27
      Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 63 of 85




C&W        Cross-
                                Document Description                    Bates Number
Ex. No.   Reference
CW-325      None       Blank Rome Amended Answer Berger IV                  None
CW-326      None          Cozen Amended Answer Berger IV                    None
CW-327      None           Third Party Complaint Berger IV                  None
                      Berish Berger v. Eli Weinstein and Ravinder
CW-328      None       Chawla, Complaint, E.D. Pa., Civ. A. No.       BERGER4097879-94
                                07-0994 (filed 3/12/07)
                        Berish Berger v. Eli Weinstein, Ravinder
                      Chawla, Anthony Argiropoulos, 2040 Market
                          Associates, LP, JFK Blvd Acquisition
                       Partners, L.P., UBS Real Estate Securities,
                                                                       BERGER4097976-
CW-329      None        Inc., Mark Sahaya, a/k/a Mark Stephens
                                                                           8025
                      d/b/a Mark Stephens Co., Pine Projects LLC
                          and Montgomery Abstract, Amended
                       Complaint, E.D. Pa., Civ. A. No. 07-0994
                                   (amended 5/21/07)
                      7/20/07 Declaration of Berger in Support of
                                                                      BERGER4170119-35
CW-330      None      plaintiffs’ Motion for Preliminary Injunction
                                       in Berger I
CW-331      None      7/23/07 Deposition Transcript of Haim Levy      BERGER1004723-738
                       5/14/08 NTA Forensics Expert Technical
CW-332      None                                                      BERGER4210434-537
                           Report and Findings (full report)
                      Berish Berger, Kilbride Investments Limited,
                        Busystore Limited, Towerstates Limited,
                      Bergfeld Co. Limited and Ardenlink Limited
                       v. Eli Weinstein, Ravinder Chawla, Mark
CW-333      None       Sahaya, 2040 Market Associates, LP, JFK        BERGER0018083-117
                         Blvd Acquisition Partners, L.P., Pine
                          Projects LLC and World Acquisition
                      Partners Corporation, Complaint, E.D. Pa.,
                          Civ. A. No. 08-4059 (filed 8/20/08)




                                         A-28
      Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 64 of 85




C&W        Cross-
                                Document Description                   Bates Number
Ex. No.   Reference
                      Berish Berger, Kilbride Investments Limited,
                        Busystore Limited, Towerstates Limited,
                      Bergfeld Co. Limited and Ardenlink Limited
                       v. Richard Zeghibe, Patriot Parking, Inc.,
CW-334      None        James Rappoport, DDI Architects, P.C.,             None
                       Daroff Design, Inc., Daroff Design Inc. +
                       DDI Architects, P.C. and Jatinder Chawla,
                       Complaint, E.D. Pa., Civ. A. No. 08-5861
                                    (filed 12/18/08)
                      7/30/10 Confidential Settlement Agreement,
            None      General Release and Joint Tortfeasor Release
CW-335                                                               BERGER5000718-28
                        between plaintiffs and Rappoport/Daroff
                                        Designs
                           7/30/10 Transcript of Jury Verdict
CW-336      D-29                                                     BERGER2001376-391

                      Berish Berger, Kilbride Investments Limited,
                            Busystore Limited in Liquidation,
                      Towerstates Limited, Bergfeld Co. Limited &
                      Ardenlink Limited v. Cushman and Wakefield
CW-337      None                                                      No Bates Number
                       of Pennsylvania, Inc., Blank Rome LLP and
                            Cozen O’Connor, P.C., Amended
                      Complaint, S.D.N.Y., Civ. A. No. 12-09224
                                     (filed 2/25/13)
                        Plaintiff’s 11/11/14 Response to Cozen’s
CW-338      None                                                           None
                       First Request for Production of Documents
                      Blank Rome’s 2/6/15 Answers to Plaintiff’s
CW-339      None                                                           None
                         Request for Production of Documents
                      C&W’s 3/7/15 Responses to Plaintiffs’ First
CW-340      None                                                           None
                        Request for Production of Documents
                        Cozen’s 10/12/15 Answers to Plaintiffs’
CW-341      None                                                           None
                                    Interrogatories
                        C&W’s 7/29/16 Responses to Plaintiff’s
CW-342      None                                                           None
                           Third Request for Production
                      Plaintiff’s 7/29/16 Supplemental Responses
CW-343      None                                                           None
                           to Cozen’s Request for Production
                                         A-29
      Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 65 of 85




C&W        Cross-
                                Document Description                    Bates Number
Ex. No.   Reference
                        Plaintiff Kilbride’s 8/1/16 Response to
CW-344      None                                                            None
                        Cozen’s Second Request for Production
                         Plaintiff’s 8/1/16 Response to Cozen’s
CW-345      None                                                            None
                             Second Request for Production
                        Undated Declaration of Chaim Zev Leifer
CW-346     D-110      (filed on behalf of Berger in connection with   BERGER0019815-21
                              Berger I, Civ. A. No. 07-0994)
                        NTA Forensics Busystore Limited text
CW-347      D-37      messages from Weinstein and Heskel Kish to      BERGER4027850-53
                                      Berger
CW-348      D-36      Undated Handwritten Bases for Investment         BERGER3010934
CW-349      None                     Verdict Sheet                          None
                        Plaintiffs’ Responses and Objections to
CW-350      None                                                            None
                          Cozen’s First Set of Interrogatories
                      Plaintiff Berger’s Responses and Objections
CW-351      None           to Blank Rome LLP’s Requests for                 None
                                  Admissions (8/8/16)
                       Plaintiff Berger’s Responses and Objections
CW-352      None                                                            None
                      to Cozen’s Requests for Admissions (8/1/16)
                         Plaintiff Ardenlink’s Responses and
CW-353      None       Objections to Blank Rome’s Requests for              None
                                  Admissions (8/8/16)
                          Plaintiff Bergfeld’s Responses and
CW-354      None       Objections to Blank Rome’s Requests for              None
                                  Admissions (8/8/16)
                         Plaintiff Busystore’s Responses and
CW-355      None       Objections to Blank Rome’s Requests for              None
                                 Admissions (8/8/16)
                          Plaintiff Kilbride’s Responses and
CW-356      None       Objections to Blank Rome’s Requests for              None
                                 Admissions (8/8/16)
                        Plaintiff Towerstate’s Responses and
CW-357      None       Objections to Blank Rome’s Requests for              None
                                 Admissions (8/8/16)

                                         A-30
      Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 66 of 85




C&W        Cross-
                               Document Description                Bates Number
Ex. No.   Reference
                       9/19/16 Deposition Transcript of Pessie
CW-358      None                                                       None
                                       Berger
                      10/27/16 Deposition Transcript of Getzel
CW-359      None                                                       None
                                      Berger
                         9/4/07 Deposition Transcript of Eli
CW-360      None                                                       None
                                    Weinstein
                         12/3/07 Deposition Transcript of Eli
CW-361      None                                                       None
                                     Weinstein
                         5/16/08 Deposition Transcript of Eli
CW-362      None                                                       None
                                     Weinstein
                      7/26/10 and 7/28/10 Trial Testimony of Eli
CW-363      None                                                       None
                                      Weinstein
                       1/10/17 and 1 Deposition transcripts of
CW-364      None                                                       None
                           Chaim Zev Leifer Deposition
CW-365      None           Documents Produced by SEPTA             SEPTA00001-16




                                        A-31
                              Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 67 of 85



                                                           APPENDIX B

                              C&W OBJECTIONS TO PLAINTIFFS’ AMENDED TRIAL EXHIBITS
                                           (OTHER THAN RELEVANCE)
Plaintiffs’ Ex.    Cross-
                                  Date        Document Description              Bates Number              Objection
     No.          Reference
PLAINTIFFS-                                 World Acquisition Partners         BERGER4164281-
                    N/A          Various                                                        Fed. R. Evid. 802, 901
    012                                             Ledgers                    BERGER4164533
                                              Cushman & Wakefield
PLAINTIFFS-                                                                    BERGER4000978-
                   P-092        00/00/00    Workfile for 23rd St. & JFK -                       Fed. R. Evid. 403
    017                                                                        BERGER4001222
                                                        USB
                                             Email from J. Wolfer to R.
PLAINTIFFS-                                                                    BERGER4037058-
                  PSJX-093      00/00/00   Chawla re JFK, with imbedded                         Fed. R. Evid. 802, 901
    030                                                                        BERGER4037059
                                                       emails
                                           Defendants’ Answer and New
                                           Matter to Plaintiffs’ Complaint
PLAINTIFFS-                                                                    BERGER3001741-
                    N/A         00/00/00   in Daroff Design, Inc., et al. v.                    Fed. R. Evid. 802, 901
    037                                                                        BERGER3001819
                                             World Acquisition Partners
                                                Corporation, et al.

PLAINTIFFS-                                                                                     Fed. R. Evid. 403, 802, 901,
                    N/A         00/00/00       Check NorthFork Bank            BERGER3000050
    041                                                                                         1002

PLAINTIFFS-                                                                                     Fed. R. Evid. 403, 802, 901,
                    N/A         00/00/00      Check Commerce Bank              BERGER3000051
    042                                                                                         1002
PLAINTIFFS-                                                                                     Fed. R. Evid. 403, 802, 901,
                    N/A         00/00/00      Check Commerce Bank              BERGER3000052
    043                                                                                         1002
PLAINTIFFS-                                                                    BERGER3000057-   Fed. R. Evid. 403, 802, 901,
                    N/A         00/00/00                Check
    044                                                                        BERGER3000058    1002

                                                                 B-1
                              Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 68 of 85




                              C&W OBJECTIONS TO PLAINTIFFS’ AMENDED TRIAL EXHIBITS
                                           (OTHER THAN RELEVANCE)
Plaintiffs’ Ex.    Cross-
                                  Date          Document Description             Bates Number                Objection
     No.          Reference
PLAINTIFFS-                                    Commerce Bank Checks
                    N/A          Various                                        BERGER3010951      Fed. R. Evid. 901
    050                                      02/28/07 $311; 06/15/07 $311

PLAINTIFFS-                                  2004 C&W Appraisal of Three
                    P-60        1/22/2004                                      BERGER4001251-330   Fed. R. Evid. 403
    051                                           River City Parcels

                                              Email from T. Singh to W.
PLAINTIFFS-                                                                     BERGER3000041 -
                    N/A         12/14/2005   Martin, et al. no subject, with                       Fed. R. Evid. 403, 802, 901
    055                                                                         BERGER3000042
                                                      attachment

PLAINTIFFS-                                     Agreement of Sale and           BERGER3000814 -
                    N/A          3/3/2006                                                          Fed. R. Evid. 403, 802, 901
    058                                              Purchase                   BERGER3000849

PLAINTIFFS-                                  C. Naselsky handwritten notes
                   P-116        4/14/2006                                          BR000623        Fed. R. Evid. 403, 802, 901
    062                                              re 23rd Street

                                             Email from R. Chawla to M.
PLAINTIFFS-
                  PSJX-063      4/15/2006    Sahaya re FW: 2040 Market          BERGER1010999      Fed. R. Evid. 403, 802, 901
    063
                                             Street, with imbedded emails
PLAINTIFFS-
                   P-117        4/17/2006    C. Naselsky handwritten notes         BR000624        Fed. R. Evid. 802, 901
    067

                                               Email to J. Rappoport to
PLAINTIFFS-
                  PSJX-102      5/12/2006    Harish re FW: Re Ordinance,        BERGER4025128      Fed. R. Evid. 802, 901
    077
                                                with imbedded emails


                                                                  B-2
                              Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 69 of 85




                              C&W OBJECTIONS TO PLAINTIFFS’ AMENDED TRIAL EXHIBITS
                                           (OTHER THAN RELEVANCE)
Plaintiffs’ Ex.    Cross-
                                  Date         Document Description           Bates Number               Objection
     No.          Reference
                                             Email from C. Snider to C.
PLAINTIFFS-
                  PSJX-056      5/26/2006   Naselsky, et al. re JFK escrow   BERGER4204111     Fed. R. Evid. 802, 901
    086
                                                  deposit: Urgent

PLAINTIFFS-                                 Email from C. Naselsky to C.     BERGER4204124-
                  PSJX-057      5/30/2006                                                      Fed. R. Evid. 802, 901
    087                                       Snider re 23rd and JFK         BERGER4204125

                                                 Partnership Interests
PLAINTIFFS-                                                                  BERGER3000651 –
                    N/A         5/31/2006       Agreement of Sale and                          Fed. R. Evid. 403, 802, 901
    088                                                                       BERGER3000686
                                                      Purchase
                                            Settlement Statement for 2040
PLAINTIFFS-                                  Market Street a/k/a 2026-58      COZEN009399-
                  PSJX-014      6/2/2006                                                       Fed. R. Evid. 403, 802, 901
    090                                      Market Street, Philadelphia,     COZEN009400
                                                      PA 19103

                                            Email from J. Rappoport to R.
PLAINTIFFS-                                                                  BERGER4011321-
                    N/A         6/21/2006    Chawla re River City, with                        Fed. R. Evid. 802, 901
    101                                                                      BERGER4011324
                                                  imbedded emails


                                             Email from R. Chawla to G.
PLAINTIFFS-                                    Lilienfield re FW: Jfk        BERGER4208004-
                    N/A         6/23/2006                                                      Fed. R. Evid. 802, 901
    102                                       appraisal, with imbedded       BERGER4208005
                                                        emails




                                                                 B-3
                              Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 70 of 85




                              C&W OBJECTIONS TO PLAINTIFFS’ AMENDED TRIAL EXHIBITS
                                           (OTHER THAN RELEVANCE)
Plaintiffs’ Ex.    Cross-
                                  Date         Document Description             Bates Number              Objection
     No.          Reference

                                             Email from R. Zeghibe to R.
PLAINTIFFS-                                                                    BERGER4204305-
                   P-122        6/23/2006   Chawla, et al. re Jfk Appraisal,                    Fed. R. Evid. 802, 901
    108                                                                        BERGER4204306
                                               with imbedded emails

                                             Email from R. Chawla to R.
PLAINTIFFS-                                    Zeghibe, et al. re JFK
                    N/A         6/29/2006                                      BERGER3003429    Fed. R. Evid. 802, 901
    110                                       Appraisal, with imbedded
                                                        email


PLAINTIFFS-                                   Email from A. Singh to C.
                    N/A         6/29/2006                                      BERGER4204333    Fed. R. Evid. 802, 901
    118                                           Naselsky re JFK



PLAINTIFFS-                                  Email from R. Chawla to C.
                    N/A         6/30/2006                                      BERGER4208020    Fed. R. Evid. 802, 901
    119                                      Naselsky re JFK Appraisal


                                             Email from A. Singh to R.
PLAINTIFFS-
                   P-127        6/30/2006   Zeghibe, et al. re Philadelphia    BERGER4191142    Fed. R. Evid. 802, 901
    120
                                                     River City
                                             Email from R. Chawla to C.
PLAINTIFFS-                                                                    BERGER4201090-
                  PSJX-068      7/9/2006    Naselsky re Philadelphia River                      Fed. R. Evid. 802, 901
    126                                                                        BERGER4201091
                                             City, with imbedded emails

                                                                  B-4
                              Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 71 of 85




                              C&W OBJECTIONS TO PLAINTIFFS’ AMENDED TRIAL EXHIBITS
                                           (OTHER THAN RELEVANCE)
Plaintiffs’ Ex.    Cross-
                                  Date         Document Description            Bates Number                Objection
     No.          Reference
                                                 Email R. Chawla to
PLAINTIFFS-                                  Jackfinance re Philadelphia      BERGER4201092-
                  PSJX-114      7/11/2006                                                        Fed. R. Evid. 802, 901
    131                                      River City, with imbedded        BERGER4201094
                                                       emails
                                              Email from A. Singh to C.
PLAINTIFFS-                                                                   BERGER4204599-
                    N/A         7/13/2006       Naselsky re JFK, with                            Fed. R. Evid. 802, 901
    132                                                                       BERGER4204600
                                                     attachment
                                             Email from R. Chawla to C.
                                            Naselsky, et al. re: #2663857-
PLAINTIFFS-
                    N/A         7/15/2006       v1-PHILADELPHIA-              BERGER4208048      Fed. R. Evid. 802, 901
    133
                                            matrix_of_JFK_Due_Diligenc
                                                   e_expenses.xls
                                              RAM Associates letter to
PLAINTIFFS-                                  Weinstein re Air Rights @                           Fed. R. Evid. 403, 802, 901,
                  PSJX-160      7/21/2006                                     BERGER4211655
    136                                          2040 Market Street,                             1002
                                                  Philadelphia, PA

                                             Email from R. Chawla to A.
PLAINTIFFS-                                  Teitelman re FW: 1980.pdf,       BERGER3001825-
                    N/A         8/4/2006                                                         Fed. R. Evid. 802, 901
    145                                      with imbedded emails, with       BERGER3001828
                                                     attachment


                                             Email from R. Chawla to C.
PLAINTIFFS-
                   P-145        8/7/2006      Naselsky, with imbedded        BR009968-BR009971   Fed. R. Evid. 802, 901
    146
                                              emails, with attachment

                                                                 B-5
                              Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 72 of 85




                              C&W OBJECTIONS TO PLAINTIFFS’ AMENDED TRIAL EXHIBITS
                                           (OTHER THAN RELEVANCE)
Plaintiffs’ Ex.    Cross-
                                  Date         Document Description            Bates Number                Objection
     No.          Reference

                                             Email from R. Chawla to J.
PLAINTIFFS-                                   Rappoport, et al. re FW:        BERGER3001829-
                    N/A         8/7/2006                                                         Fed. R. Evid. 802, 901
    147                                       1980.pdf, with imbedded         BERGER3001830
                                                       emails




PLAINTIFFS-                                 Email from J. Rappoport to R.
                    N/A         8/7/2006                                      BERGER3000941      Fed. R. Evid. 802, 901
    149                                      Chawla re FW: 1980.pdf



                                            Email from R. Amengual to C.
                                            Naselsky re R&F Penn Center
PLAINTIFFS-
                    N/A         8/9/2006    Associates, L.P. with JFK Blvd   BR009948-BR009950   Fed. R. Evid. 802, 901
    151
                                             Acquisition GP, LLC, with
                                                  imbedded emails
                                             Email from R. Chawla to J.
PLAINTIFFS-
                    N/A         8/9/2006    Rappoport re River City, with    BR009960-BR009961   Fed. R. Evid. 802, 901
    152
                                                   imbedded email
                                             Email from R. Zeghibe to C.
PLAINTIFFS-
                    N/A         8/11/2006     Naselsky re JFK Zononing          BR0018909        Fed. R. Evid. 802, 901
    153
                                                     (sic) Letter
                                            Email from C. Naselsky to R.
PLAINTIFFS-
                    N/A         8/11/2006   Zeghibe re JFK Zononing (sic)        BR018951        Fed. R. Evid. 802, 901
    155
                                             Letter, with imbedded emails
                                                                 B-6
                              Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 73 of 85




                              C&W OBJECTIONS TO PLAINTIFFS’ AMENDED TRIAL EXHIBITS
                                           (OTHER THAN RELEVANCE)
Plaintiffs’ Ex.    Cross-
                                  Date         Document Description           Bates Number                Objection
     No.          Reference
                                            Letter from S. Stein to A.
                                            Teitelman re Reinstatement of
                                            Nominee Agreement among
PLAINTIFFS-
                    N/A         8/15/2006   JFK Blvd Acquisition GP,            BR009639        Fed. R. Evid. 802, 901
    159
                                            LLC, as Nominee and Richard
                                            Zeghibe, as Nominee, and JFK
                                            Philadelphia LLC, as Owner


                                            Email from C. Naselsky to W.
PLAINTIFFS-
                   P-036        8/21/2006    Kerr re FW: FW: 1980.pdf,      BR012905-BR012906   Fed. R. Evid. 802, 901
    163
                                               with imbedded emails



                                            Email from J. Rappoport to C.
PLAINTIFFS-                                                                  BERGER4192341-
                    N/A         8/30/2006   Naselsky re Parcels D&E, with                       Fed. R. Evid. 802, 901
    185                                                                      BERGER4192342
                                                  imbedded emails


                                            Email from J. Rappoport to C.
PLAINTIFFS-
                    N/A         8/31/2006    Naselsky re River City, with   BR009304-BR009306   Fed. R. Evid. 802, 901
    186
                                                  imbedded emails

                                             Email from R. Chawla to C.
PLAINTIFFS-
                   P-169        8/31/2006    Naselsky re JFK and 2040,      BR009309-BR009310   Fed. R. Evid. 802, 901
    187
                                               with imbedded emails


                                                                B-7
                              Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 74 of 85




                              C&W OBJECTIONS TO PLAINTIFFS’ AMENDED TRIAL EXHIBITS
                                           (OTHER THAN RELEVANCE)
Plaintiffs’ Ex.    Cross-
                                  Date         Document Description              Bates Number                Objection
     No.          Reference

                                             Email from R. Chawla to C.
PLAINTIFFS-
                  PSJX-037      8/31/2006    Naselsky re JFK and 2040,         BR009302-BR009303   Fed. R. Evid. 802, 901
    188
                                               with imbedded emails


                                             Email from R. Chawla to J.
PLAINTIFFS-
                  PSJX-044      8/31/2006   Rappoport, et al. re River City,    BERGER4021225      Fed. R. Evid. 802, 901
    189
                                                with imbedded email


PLAINTIFFS-                                 Email from C. Naselsky to R.
                  PSJX-085      8/31/2006                                          BR012092        Fed. R. Evid. 802, 901
    190                                      Chawla re JFK and 2040


                                            Email from C. Naselsky to W.
PLAINTIFFS-
                    N/A         9/2/2006    Kerr re Philadelphia River City        BR013043        Fed. R. Evid. 802, 901
    192
                                                – Zoning Calculations

                                              Email from W. Kerr to C.
PLAINTIFFS-
                   P-048        9/7/2006       Naselsky re JFK, with           BR013051-BR013053   Fed. R. Evid. 802, 901
    194
                                                 imbedded emails

                                            Email from J. Rappoport to C.
PLAINTIFFS-
                   P-152        9/7/2006     Naselsky re River City, with      BR000567-BR000569   Fed. R. Evid. 802, 901
    195
                                                  handwritten notes




                                                                  B-8
                              Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 75 of 85




                              C&W OBJECTIONS TO PLAINTIFFS’ AMENDED TRIAL EXHIBITS
                                           (OTHER THAN RELEVANCE)
Plaintiffs’ Ex.    Cross-
                                  Date         Document Description           Bates Number                Objection
     No.          Reference

PLAINTIFFS-                                  Email from R. Chawla to C.
                   P-173        9/7/2006                                        BR018905        Fed. R. Evid. 802, 901
    196                                               Naselsky

                                            Email from J. Rappoport to J.
PLAINTIFFS-                                 Noonan, et al. re FW Parkway    BERGER3000293 –
                    N/A         9/12/2006                                                       Fed. R. Evid. 802, 901
    202                                       area height controls, with     BERGER3000294
                                                       attachment
                                            Email from C. Naselsky to R.
PLAINTIFFS-                                   Chawla re FW: Suggested
                    N/A         9/20/2006                                   BR009087-BR009105   Fed. R. Evid. 403, 802, 901
    210                                      edits to JFK Blvd. Nominee
                                                       Agreement
                                             Email from R. Chawla to C.
                                            Naselsky re FW: JFK/Edits to
PLAINTIFFS-                                   the Contingent Judgment
                    N/A         9/20/2006                                   BR009106-BR009115   Fed. R. Evid. 403, 802, 901
    211                                         Promissory Note, with
                                               imbedded emails, with
                                                       attachment
                                            Email from R. Amengual to C.
PLAINTIFFS-
                    N/A         9/21/2006     Naselsky with imbedded            BR009067        Fed. R. Evid. 403, 802, 901
    213
                                                          emails


                                            Email from A. Teitelman to W.
PLAINTIFFS-
                  PSJX-053      9/21/2006    Martin re Revised Nominee       BERGER1011916      Fed. R. Evid. 403, 802, 901
    215
                                                     Agreement



                                                                B-9
                              Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 76 of 85




                              C&W OBJECTIONS TO PLAINTIFFS’ AMENDED TRIAL EXHIBITS
                                           (OTHER THAN RELEVANCE)
Plaintiffs’ Ex.    Cross-
                                  Date         Document Description           Bates Number                Objection
     No.          Reference
                                            Email from C. Naselsky to W.
PLAINTIFFS-
                    N/A         9/25/2006    Kerr re JFK and 2040, with     BR011835-BR011836   Fed. R. Evid. 403, 901
    217
                                                  imbedded emails
PLAINTIFFS-                                 Email from J. Rappoport to R.
                   P-176        9/25/2006                                       BR009053        Fed. R. Evid. 802, 901
    219                                     Chawla, with imbedded emails

PLAINTIFFS-                                  Email from M. Sahaya to R.
                  PSJX-075      9/26/2006                                    BERGER3000914      Fed. R. Evid. 802, 901
    221                                        Chawla re [no subject]

PLAINTIFFS-                                 Email from C. Naselsky to R.
                    N/A         9/28/2006                                       BR018941        Fed. R. Evid. 802, 901
    222                                        Zeghibe, et al. re Jfk

                                            Purchase Agreement between
                                              I. Chawla, J. Chawla, the
PLAINTIFFS-                                   Zeghibe Family Trust, the      BERGER3003004-
                    N/A         10/4/2006                                                       Fed. R. Evid. 403
    223                                        Partners of 2040 Market       BERGER3003019
                                                Associates, LP and Eli
                                                      Weinstein
                                            Email from C. Naselsky to R.
                                                 Chawla re SELLER
                                            EXECUTED AGREEMENTS
PLAINTIFFS-
                    N/A         10/5/2006   & RELATED DOCUMENTS             BR011583-BR011587   Fed. R. Evid. 403, 802, 901
    224
                                             FOR 2040 MARKET AND
                                             OPTION FOR 11501 ROOS
                                            BLVD, with imbedded emails



                                                               B-10
                              Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 77 of 85




                              C&W OBJECTIONS TO PLAINTIFFS’ AMENDED TRIAL EXHIBITS
                                           (OTHER THAN RELEVANCE)
Plaintiffs’ Ex.    Cross-
                                  Date         Document Description            Bates Number                Objection
     No.          Reference
                                              Email from A. Singh to C.
                                                Naselsky re FW: Fully
PLAINTIFFS-                                  Executed Fourth Amendment
                    N/A         10/9/2006                                    BR008763-BR008796   Fed. R. Evid. 403, 802, 901
    228                                        to Agreement of Sale on
                                               JFK.pdf, with imbedded
                                               emails, with attachments
                                              Email from D. Grasso to C.
PLAINTIFFS-
                   P-186        10/10/2006     Naselsky re FW: Height            BR008737        Fed. R. Evid. 802, 901
    229
                                                  Ordinance status
                                              Email from R. Chawla to C.
PLAINTIFFS-
                  PSJX-061      10/10/2006       Naselsky re JFK, with       BR008760-BR008761   Fed. R. Evid. 802, 901
    230
                                                   imbedded emails
                                               Email from W. Kerr to C.
PLAINTIFFS-
                    N/A         10/12/2006       Naselsky re JFK, with       BR013239-BR013240   Fed. R. Evid. 802, 901
    232
                                                   imbedded emails
                                              Email from R. Chawla to C.
PLAINTIFFS-
                    N/A         10/17/2006    Naselsky re 2040/JFK, with     BR018899-BR018900   Fed. R. Evid. 802, 901
    236
                                                   imbedded emails
                                              Email from R. Chawla to C.
PLAINTIFFS-
                  PSJX-106      10/17/2006     Naselsky re FW JFK, with      BR008662-BR008663   Fed. R. Evid. 802, 901
    237
                                                   imbedded emails
PLAINTIFFS-                                  Email from C. Naselsky to A.
                    N/A         10/20/2006                                       BR018852        Fed. R. Evid. 802, 901
    238                                               Singh re jfk
                                              Email from R. Chawla to C.
PLAINTIFFS-                                  Naselsky re Appraisal for IRS    BERGER4059407-
                   P-195        10/31/2006                                                       Fed. R. Evid. 802, 901
    253                                        Building 11501 Roosevelt       BERGER4059411
                                              Blvd, with imbedded emails
                                                                  B-11
                              Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 78 of 85




                              C&W OBJECTIONS TO PLAINTIFFS’ AMENDED TRIAL EXHIBITS
                                           (OTHER THAN RELEVANCE)
Plaintiffs’ Ex.    Cross-
                                  Date          Document Description          Bates Number              Objection
     No.          Reference
PLAINTIFFS-
                  PSJX-076      11/8/2006       Agenda Hearing Notice             N/A         Fed. R. Evid. 901
    263
PLAINTIFFS-                                  Email from C.Naselsky to K.
                    P-21        11/22/2006                                      BR011337      Fed. R. Evid. 802, 901
    283                                              Daroff re bill
                                               Email from R. Chawla to
PLAINTIFFS-                                      A. Teitelman, et al. re     BERGER3000004-
                   P-208        11/22/2006                                                    Fed. R. Evid. 802, 901
    285                                         FW: bill, with imbedded      BERGER3000005
                                                         emails
                                                Email from J. Rappoport
                                                    to R. Chawla re
PLAINTIFFS-                                                                  BERGER4014230-
                                11/27/2006        Councilman Clarke's                         Fed. R. Evid. 802, 901
    292                                                                       BEGER401232
                                               Ordinance Bill 060292-A,
                                                 with imbedded emails
                                             Email from J. Rappoport to R.
PLAINTIFFS-                                      Chawla re Councilman        BERGER3000016-
                    N/A         11/27/2006                                                    Fed. R. Evid. 802, 901
    297                                         Clarke’s Ordinance Bill      BERGER3000018
                                                       060292-A
                                             Daily News article “Panel Oks
PLAINTIFFS-
                  PSJX-099      11/29/2006    towers on Delaware, favors          N/A         Fed. R. Evid. 802, 901
    305
                                                 Parkway height limits”
                                                Email from J. Rappoport
PLAINTIFFS-                                       to K. Daroff re FW:        BERGER4006984-
                  PSTAX-29      11/29/2006                                                    Fed. R. Evid. 802, 901
    306                                         Overlay, with imbedded       BERGER4006986
                                                         emails



                                                                B-12
                              Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 79 of 85




                              C&W OBJECTIONS TO PLAINTIFFS’ AMENDED TRIAL EXHIBITS
                                           (OTHER THAN RELEVANCE)
Plaintiffs’ Ex.    Cross-
                                  Date          Document Description             Bates Number                Objection
     No.          Reference

                                              Email from M. Young to G.
PLAINTIFFS-
                   P-081        12/6/2006    McNamara, et al. re 2000-2400      BERGER4001128      Fed. R. Evid. 802
    329
                                                      JFK Blvd.


                                             Email from R. Chawla to M.
PLAINTIFFS-                                      Sahaya, et al. re FW:
                  PSJX-135      12/8/2006                                       BERGER4202072      Fed. R. Evid. 403
    342                                      Philadelphia River City, with
                                                   imbedded emails


                                             Email from R. Chawla to M.
PLAINTIFFS-                                  Sahaya, E. Weinstein, et al. re   BERGER3000284 –
                                12/8/2006                                                          Fed. R. Evid. 403
    343                                      Philadelphia River City, with      BERGER3000285
                                                      attachment

                                                $9,500,000 check to
PLAINTIFFS-
                                12/14/2006   Montgomery Abstract re 2040        BERGER3010839      Fed. R. Evid. 403, 901
    355
                                                   Market Street
                                               Philadelphia Daily News
PLAINTIFFS-                                                                     BERGER1011751-
                   P-090        12/14/2006    article titled “A 1,000-foot                         Fed. R. Evid. 802, 901
    356                                                                         BERGER1011752
                                              colossus by the Schuylkill”
PLAINTIFFS-                                  Email from C. Naselsky to R.
                  PSJX-137      12/14/2006                                     BR010785-BR010788   Fed. R. Evid. 802
    358                                      Chawla re FW: Ravi Article



                                                                  B-13
                              Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 80 of 85




                              C&W OBJECTIONS TO PLAINTIFFS’ AMENDED TRIAL EXHIBITS
                                           (OTHER THAN RELEVANCE)
Plaintiffs’ Ex.    Cross-
                                  Date          Document Description          Bates Number               Objection
     No.          Reference
                                             Email from W. Martin to E.
PLAINTIFFS-                                                                  BERGER3000400 –
                                12/14/2006   Weinstein, R. Neumann, et al.                     Fed. R. Evid. 802
    360                                                                       BERGER3000403
                                              re Emailing: 16235841.htm

PLAINTIFFS-                                   Sending a Payment Abroad
                                12/20/2006                                   BERGER3002953     Fed. R. Evid. 403
    369                                           wire information

                                                $4,663,472.15 Check to
                                                   World Acquisition
PLAINTIFFS-
                                12/20/2006      Partners Corporation re       BERGER301670     Fed. R. Evid. 802, 901, 1002
    377
                                                  Pine Projects – JFK
                                                         Closing
                                                 Deed for 2001 John F.
                                               Kennedy Boulevard, 2101
                                              John F. Kennedy Boulevard,
PLAINTIFFS-                                      2201 John F. Kennedy
                    N/A         12/26/2006                                        N/A          Fed. R. Evid. 901
    397                                         Boulevard, 2301 John F.
                                             Kennedy Boulevard and 60 N.
                                                 23rd Street (Recorder #
                                                       51598218)
                                               $7,982,500 check to Mark
PLAINTIFFS-                                  Stephens Co. re Independence-
                    N/A          1/4/2007                                    BERGER3010838     Fed. R. Evid. 802, 901, 1002
    400                                      Gernora 2 yr interest payment
                                                      on $51,500,00
PLAINTIFFS-                                   2040 Market Street Charges
                    N/A          1/4/2007                                    BERGER3000237     Fed. R. Evid. 802, 901
    401                                            Payable By Buyer


                                                                B-14
                              Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 81 of 85




                              C&W OBJECTIONS TO PLAINTIFFS’ AMENDED TRIAL EXHIBITS
                                           (OTHER THAN RELEVANCE)
Plaintiffs’ Ex.    Cross-
                                  Date        Document Description              Bates Number                Objection
     No.          Reference
                                            Email from R. Patterson to J.
PLAINTIFFS-                                     Rappoport, et al. re          BERGER4197543-
                  PSJX-111      1/23/2007                                                         Fed. R. Evid. 802
    416                                      Philadelphia River, with         BERGER4197545
                                                 imbedded emails
                                            Email from D. McNeil to G.
                                                                            BERGER-CW-00000804
PLAINTIFFS-                                   McNamara re FW: JFK
                    N/A         2/1/2007                                       - BERGER-CW-    Fed. R. Evid. 403
    423                                      Appraisal, with imbedded
                                                                                  00000805
                                                      emails
                                            Email from D. McNeil to G.
PLAINTIFFS-
                   P-083        2/1/2007    McNamara re Priceless Real      BERGER-CW-00000803 Fed. R. Evid. 403, 802
    424
                                                Estate – River City

PLAINTIFFS-                                  Email from A. Singh to C.
                                2/1/2007                                      BERGER4197723       Fed. R. Evid. 403, 802, 901
    425                                          Naselsky re JFK

PLAINTIFFS-                                 Email from R. Chawla to C.
                                2/2/2007                                      BERGER4068322       Fed. R. Evid. 403, 802, 901
    427                                           Naselsky re UBS
                                            Email from G. McNamara to          BERGER-CW-
PLAINTIFFS-
                                2/2/2007    D. McNeil re JFK Appraisal,      00000956-BERGER-     Fed. R. Evid. 403
    428
                                               with imbedded emails             CW-00000957
                                            Email from G. McNamara to
PLAINTIFFS-                                 D. McNeil re Priceless Real
                                2/5/2007                                    BERGER-CW-00000081 Fed. R. Evid. 403, 802
    429                                       Estate – River City, with
                                                  imbedded email
                                            Email from G. McNamara to
                                                                               BERGER-CW-
PLAINTIFFS-                                    D. McNeil re FW: JFK
                                2/5/2007                                     00000958-BERGER-     Fed. R. Evid. 403
    430                                      Appraisal, with imbedded
                                                                                CW-00000960
                                                       emails
                                                                B-15
                              Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 82 of 85




                              C&W OBJECTIONS TO PLAINTIFFS’ AMENDED TRIAL EXHIBITS
                                           (OTHER THAN RELEVANCE)
Plaintiffs’ Ex.    Cross-
                                  Date         Document Description             Bates Number                Objection
     No.          Reference
                                            Email from G. McNamara to          BERGER-CW-
PLAINTIFFS-
                                2/5/2007    C. Naselsky re JFK Appraisal,    00000962-BERGER-     Fed. R. Evid. 403
    431
                                                with imbedded emails            CW-00000965
                                            Email from from C. Naselsky
PLAINTIFFS-                                    to P. Soloff re FW: JFK
                   P-242        2/6/2007                                         BR012249         Fed. R. Evid. 403
    437                                      Appraisal, with imbedded
                                                         emails
PLAINTIFFS-                                   Email from C. Kish to E.
                                2/6/2007                                      BERGER3010955       Fed. R. Evid. 802
    438                                     Weinstein re Re: FW: Status
                                            Email from G. McNamara to           BERGER-CW-
PLAINTIFFS-
                                2/8/2007    D. McNeil re JFK Land, with      00000087- BERGER- Fed. R. Evid. 403
    441
                                                   imbedded emails              CW-00000089
                                            Email from D. McNeil to G.      BERGER-CW-00000953
PLAINTIFFS-
                   P-084        2/8/2007    McNamara re JFK Land, with         - BERGER-CW-    Fed. R. Evid. 403
    442
                                                   imbedded emails                00000955
                                            Email from R. Patterson to J.
PLAINTIFFS-                                  Rappoport re Philadelphia        BERGER4015900-
                                2/8/2007                                                          Fed. R. Evid. 802
    444                                      River City, with imbedded        BERGER4015901
                                                         email
PLAINTIFFS-                                 Email from G. McNamara to
                   P-085        2/20/2007                                   BERGER-CW-00000973 Fed. R. Evid. 403
    452                                                O. Striker
                                            Email from G. McNamara to
                                                                               BERGER-CW-
PLAINTIFFS-                                 O. Striker re JFK Land, with
                   P-086        2/20/2007                                    00000975-BERGER-     Fed. R. Evid. 403
    453                                         imbedded emails, with
                                                                                CW-00000981
                                                      attachment


                                                               B-16
                              Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 83 of 85




                              C&W OBJECTIONS TO PLAINTIFFS’ AMENDED TRIAL EXHIBITS
                                           (OTHER THAN RELEVANCE)
Plaintiffs’ Ex.    Cross-
                                  Date         Document Description           Bates Number               Objection
     No.          Reference
                                             Email from O. Striker to G.
                                                                              BERGER-CW-
PLAINTIFFS-                                 McNamara re JFK Land, with
                   P-087        2/21/2007                                   00001007-BERGER-   Fed. R. Evid. 403
    454                                         imbedded email, with
                                                                               CW-00001014
                                                     attachment
                                             Email from O. Striker to G.
                                              McNamara, et al. re FW:         BERGER-CW-
PLAINTIFFS-
                   P-088        2/21/2007   Philadelphia River City, with   00001025-BERGER-   Fed. R. Evid. 403, 802
    455
                                                imbedded email, with           CW-00001076
                                                     attachment
                                            Email from G. McNamara to
                                                                              BERGER-CW-
PLAINTIFFS-                                 D. McNeil re FW: JFK Land,
                   P-095        2/21/2007                                   00000984-BERGER-   Fed. R. Evid. 403
    456                                      with imbedded emails, with
                                                                               CW-00000991
                                                     attachments
                                              Email from D. McNeil to
                                                                              BERGER-CW-
PLAINTIFFS-                                    O. Striker re JFK Land,
                                2/22/2007                                   00001112-BERGER-   Fed. R. Evid. 403
    458                                        with imbedded emails,
                                                                               CW-00001115
                                                   with attachment

PLAINTIFFS-                                 Email from J. Rappoport to R.
                   P-097        2/23/2007                                    BERGER4199501     Fed. R. Evid. 403, 802, 901
    461                                        Chawla re River city

                                             Email from D. McNeil to O.
                                                                              BERGER-CW-
PLAINTIFFS-                                    Striker re JFK Land with
                   P-089        2/26/2007                                   00001120-BERGER-   Fed. R. Evid. 403; 802
    464                                      imbedded emails, with 2007
                                                                               CW-00001274
                                                  Appraisal attached
                                             Email from R. Chawla to J.
PLAINTIFFS-
                                2/26/2007   Rappoport re CW appraisal for    BERGER4016184     Fed. R. Evid. 403
    465
                                             JFK, with imbedded emails
                                                              B-17
                              Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 84 of 85




                              C&W OBJECTIONS TO PLAINTIFFS’ AMENDED TRIAL EXHIBITS
                                           (OTHER THAN RELEVANCE)
Plaintiffs’ Ex.    Cross-
                                  Date          Document Description           Bates Number               Objection
     No.          Reference
PLAINTIFFS-                                   Email from K. Daroff to J.      BERGER3000572 -
                                 3/1/2007                                                       Fed. R. Evid. 403, 802
    466                                      Rappoport re FW: River City      BERGER3000575
                                              Email from R. Chawla to E.
PLAINTIFFS-                                  Weinstein re FW EMAILING:
                                3/11/2007                                     BERGER3000415     Fed. R. Evid. 403, 802, 901
    467                                         RIVER CITY FINAL
                                             APPRAISAL, with attachment
                                              Email from R. Chawla to E.
PLAINTIFFS-                                   Weinstein re FW: Emailing:
                                3/11/2007                                     BERGER1011288     Fed. R. Evid. 403, 802, 901
    470                                       River City Final Appraisal,
                                                with imbedded emails
                                             Email from R. Zeghibe to R.
PLAINTIFFS-                                                                   BERGER3003540-
                                6/22/2007    Chawla, et al. re Philadelphia                     Fed. R. Evid. 802
    482                                                                       BERGER3003543
                                                      River City
                                              Email from T. Singh to M.
PLAINTIFFS-                                                                   BERGER3000912-
                                10/25/2007     Sahaya, A. Teitelman, et                         Fed. R. Evid. 802
    487                                                                       BERGER3000913
                                                al. re RE: IRS BLDG
                                               Email from R. Chawla to
                                               J. Rappoport re Lack of
PLAINTIFFS-                                                                   BERGER3001736-
                                12/17/2007        communication and                             Fed. R. Evid. 802
    489                                                                       BERGER3001737
                                                transition issues, with
                                                   imbedded emails
PLAINTIFFS-                                   Voicemail G. Garrison to P.
                  PSJX-170      3/18/2008                                     BERGER3000078     Fed. R. Evid. 802
    491                                                  Segal
                                             Email from G. Lilienfeld to R.
PLAINTIFFS-                                                                   BERGER4010727-
                                5/17/2008      Chawla re JFK lots, with                         Fed. R. Evid. 802
    493                                                                       BERGER4010729
                                                   imbedded emails
                                                                  B-18
                              Case 2:13-cv-05195-JD Document 265 Filed 11/06/19 Page 85 of 85




                              C&W OBJECTIONS TO PLAINTIFFS’ AMENDED TRIAL EXHIBITS
                                           (OTHER THAN RELEVANCE)
Plaintiffs’ Ex.    Cross-
                                  Date         Document Description            Bates Number              Objection
     No.          Reference
PLAINTIFFS-                                 Memo from M. Hepplewhite to
                  PSJX-149      7/24/2008                                     BERGER5000729    Fed. R. Evid. 802
    496                                             B. Berger
                                                  Excerpts from
PLAINTIFFS-
                                00/00/00    www.cushwakepennsylvania.c             N/A         Fed. R. Evid. 403
    532
                                                       om
                                                City Solicitor’s Opinion
PLAINTIFFS-                                                                   BERGER3007403-
                                3/1/1988    regarding Bill No. 060292 (and                     Fed. R. Evid. 802, 901
    534                                                                       BERGER3007407
                                                      060292-A)
                                             Email from J. Rappoport to A.
PLAINTIFFS-                                                                   BERGER3001962-
                                8/28/2007      Teitelman, with imbedded                        Fed. R. Evid. 802
    537                                                                       BERGER3001964
                                                         emails
                                                 Complaint in Gerald
                                                McNamara v. Gurbir S.
PLAINTIFFS-
                                1/7/2019      Grewal, D.N.J. Civil Action          N/A         Fed. R. Evid. 403, 802
    552
                                             No. 3:19-cv-00173 (the “New
                                              Jersey McNamara Action”)
                                             Praecipe to Attach Exhibits to
PLAINTIFFS-
                                1/7/2019      Complaint filed in the New           N/A         Fed. R. Evid. 403, 802
    553
                                                     Jersey Action




                                                                B-19
